 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 1 of 128 PageID #:7066



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

In re Navistar MaxxForce Engines          )         Case No. 1:14-cv-10318
Marketing, Sales Practices and Products   )
Liability Litigation                      )          This filing applies to:
                                          )            All Class Cases
                                          )
                                          )        Judge Joan B. Gottschall

                                                  JURY TRIAL DEMANDED


       SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
  Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 2 of 128 PageID #:7067



                                                 TABLE OF CONTENTS

                                                                                                                                       Page

I.      NATURE OF THE ACTION ............................................................................................. 1 

        A.  Nature of the Defect .................................................................................................... 2 

        B.  The Navistar Warranties ............................................................................................. 5 

        C.  As a Result of the Defect, the Trucks Repeatedly Fail, Uniformly Injuring Proposed
        Class Members. ................................................................................................................... 7 

II.     PARTIES ............................................................................................................................ 9 

        A.  Plaintiffs ...................................................................................................................... 9 

        B.  Defendants ................................................................................................................ 56 

III.    JURISDICTION AND VENUE ....................................................................................... 61 

IV.     CHOICE OF LAW ........................................................................................................... 62 

V.      FACTUAL ALLEGATIONS ........................................................................................... 62 

        A.  Background ............................................................................................................... 62 

        B.  Navistar’s Authorized Dealers .................................................................................. 64 

        C.  The Navistar Defendants Concealed the Defect. ...................................................... 66 

        D.  The Navistar Defendants Knew About the Defect at Least as Early as 2004........... 66 

        E.  Navistar’s Representations Regarding the MaxxForce Engines ............................... 69 

        F.  The Defect Is Widespread and Harms the Class. ...................................................... 73 

VI.     TOLLING OF STATUTES OF LIMITATIONS ............................................................. 77 

VII.    CLASS ALLEGATIONS ................................................................................................. 78 

        A.  Class Definitions ....................................................................................................... 78 

        B.  The Prerequisites of Rule 23(a) Are Satisfied. ......................................................... 80 

        C.  The Prerequisites of Rule 23(b)(1) and (b)(2) Are Satisfied. ................................... 85 

        D.  The Prerequisites of Rule 23(b)(3) Are Satisfied. .................................................... 85 
  Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 3 of 128 PageID #:7068



VIII.  CAUSES OF ACTION ..................................................................................................... 86 

          A.  Claims Brought on Behalf of the Nationwide Class ................................................. 86 

          B.  Claims Brought on Behalf of State Sub-Classes....................................................... 92 

          C.  Additional Claims Brought Under Arkansas Law .................................................... 99 

          D.  Additional Claims Brought Under California Law ................................................. 101 

          E.  Additional Claims Brought Under Florida Law ..................................................... 104 

          F.  Additional Claims Brought Under Idaho Law ........................................................ 106 

          G.  Additional Claims Brought Under Illinois Law...................................................... 108 

          H.  Additional Claims Brought Under New Jersey Law .............................................. 110 

          I.    Additional Claims Brought Under North Carolina Law ......................................... 112 

          J.    Additional Claims Brought Under Ohio Law ......................................................... 114 

          K.  Additional Claims Brought Under Texas Law ....................................................... 116 

          L.  Additional Claims Brought Under Washington Law.............................................. 118 

          M.  Additional Claims Brought Under Wisconsin Law ................................................ 120 

PRAYER FOR RELIEF ............................................................................................................. 122 
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 4 of 128 PageID #:7069



        Plaintiffs Storey Trucking Company, Inc.; Lakeside Leasing, Inc.; C & T Transport;

Killer B Trucking LLC; Lance R. Edwards; Peninsular Transfer Inc.; Vera Transport LLC;

David A. Lord d/b/a Lord AG Transportation; Carmichael Leasing Co., Inc. d/b/a Carmichael

NationaLease; Robert Grieser; Randy Quick; Binder Trucking, Inc.; Joandnas Operations, Inc.;

Fike Logistics, Inc.; Robert Constantine; Wright Transportation, Inc.; A-Rapid Logistics; Alka

Trucking, Inc.; Ferraro Foods, Inc.; Jenkins Unlimited, Inc.; Phifer Trucking, Inc.; Ronald L.

Anderson; RLA Holdings, LLC; A&K Development Co.; Victor Caballero; Gettysburg Auto

Transport, LLC; The Cross Express; Leonard Butler; Steven A. Hamilton; G&G Specialized

Carriers LLC; Michael Jackson, Sr.; Charles Keplinger; GT Expedited, Inc.; Go To Logistics,

Inc.; ToGo Express, Inc.; Stephen Slough; and Two Star Trucking, Inc. (“Plaintiffs”),1 on behalf

of themselves and all other similarly-situated persons and entities, by and through their

designated attorneys, bring this class action complaint against Navistar International Corporation

and its subsidiary Navistar, Inc.2 (together, “Navistar”) and allege as follows:

                              I.      NATURE OF THE ACTION

        1.     Plaintiffs bring this class action for declaratory judgment and/or injunctive relief,

as well as money damages against Navistar for: unfair, unlawful, and fraudulent business

practices; breach of express and implied warranties; and related claims, on behalf of themselves


1
 Certain entities previously-named in this lawsuit had to be voluntarily dismissed from the
action due to bankruptcy. Although Plaintiffs intend for this to be the final iteration of their
operative pleading, additional bankruptcies for Plaintiffs whose businesses were severely
damaged due to the Navistar Engine Defect may impact the standing of these Plaintiffs to
continue advocating for themselves and absent class members. See Putzier v. Ace Hardware
Corp., 50 F. Supp. 3d 964, 982 (N.D. Ill. 2014) (finding that bankruptcies impact who the “real
party in interest” would be to bring a lawsuit).
2
 Navistar International Corporation and Navistar, Inc., as alter ego entities, and/or agents of one
another, will be referred to hereinafter as “Navistar” or “the Navistar Defendants.”



                                                 1
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 5 of 128 PageID #:7070



and all persons or entities residing in the United States who purchased, not for resale, or leased a

ProStar, LoneStar, or TranStar vehicle equipped with a 2010-2013 model year MaxxForce 11- or

13-Liter diesel engine (the “MaxxForce Engines” or “Engines”) (the “Class” or “Classes”).

       2.      Navistar sold or leased the 2010-2013 model year Engines to Plaintiffs equipped

with a defectively-designed integrated emissions system (the “Defect”). The emissions system

Defect resulted from Navistar’s election to use “Exhaust Gas Recirculation” (or “EGR”)

emissions technology with the MaxxForce Engines to comply with the Environmental Protection

Agency (“EPA”) emissions standards for trucks manufactured with model years 2010 and later

(“2010 EPA Standards”). Every major U.S. truck manufacturer except Navistar chose to meet

the 2010 EPA Standards with “Selective Catalytic Reduction” (or “SCR”) technology, which

treats engine exhaust with a urea-based chemical after it leaves the engine.

A.     Nature of the Defect

       3.      Navistar’s emissions strategy overstretched the limits of an older technology,

EGR, to try to meet new, more stringent nitrogen oxide (“NOx”) emission standards. EGR

technology involves first cooling and then recirculating a portion of an engine’s exhaust gas back

into the engine cylinders. The cooled exhaust lowers in-cylinder temperatures during

combustion, which reduces the amount of NOx formed. Navistar’s system cooled the engine

exhaust with an EGR cooler. The cooled exhaust gas was then circulated back into the engine’s

air intake through EGR valves.

       4.      Heavy-duty diesel engine manufacturers have used EGR for years to lower NOx

emissions. However, when the emission standards were lowered for 2010, every manufacturer




                                                 2
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 6 of 128 PageID #:7071



other than Navistar recognized that trying to use EGR alone, without adding an SCR system3 to

remove NOx from the exhaust after it leaves the engine, would result in unreliable engines. The

reason for that is the extremely high percentage of exhaust gas recirculation needed to meet the

lower NOx standards.

        5.     Navistar’s emissions system was defective in that the EGR system that Navistar

designed (the “EGR Only System”) recirculated a very large percentage of engine exhaust,

known as the EGR rate, into the cylinders. High EGR rates cause two problems. The higher the

EGR rate, the more particulate matter, or soot, the engine generates. That soot plugs and clogs

emissions system components. High EGR rates also increase the heat rejection to the cooling

system, which is the heat that the EGR cooler must remove. The more exhaust that the cooler

cools, the more heat the cooling system must reject to the atmosphere. Navistar’s EGR Only

System had higher heat rejection than the emissions components could handle, leading to the

failure of those components.

        6.     Navistar’s EGR Only System generated far more heat rejection and soot within

the engine than in competitors’ SCR engines because of the high EGR rate. SCR engines did not

need to rely on high EGR rates alone to lower NOx because they used urea injection to remove

NOx from the exhaust after it leaves the engine.

        7.     The EGR Only System’s excessive heat rejection and soot production leads to

plugged and cracked EGR coolers, plugged and cracked EGR valves, failed turbochargers, diesel

particulate filter (“DPF”) clogging, and other types of sudden and accidental physical damage to


3
  An SCR system uses three main components to reduce NOx emissions. The first adds urea into
the exhaust to reduce NOx. Combined with a diesel oxidation catalyst and a diesel particulate
filter, this system is highly effective at reducing NOx emissions without increasing particulates
(soot).



                                                   3
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 7 of 128 PageID #:7072



the Engine. EGR cooler leaks can send uncooled exhaust gas back into the engine (causing the

computer to shut down the engine). The defect also causes the EGR cooler to leak coolant

through the EGR valves into the engine. The added stress of pushing non-flammable coolant out

of the exhaust valves in the cylinder head destroys the head gasket, which seals the head to the

block and cylinders. This results in the engine having to be rebuilt. Also, EGR cooler cracking

could lead to coolant in the oil. This oil contamination led to many failures, some necessitating

complete engine replacement.

       8.      As a result of the Defect, Plaintiffs and Class members also experienced repeated

instances of check engine lights illuminating, engines shutting down or losing power, EGR

cooler and valve failures, turbocharger failures, DPF clogging, and other issues that led to

excessive downtime and prevented the Navistar Trucks from functioning as warranted and

represented and as reasonable purchasers and lessees would expect.

       9.      The Defect also rendered the Engines unreasonably dangerous at the time they

were purchased or leased. The Defect can lead to and has led to sudden breakdowns, forcing

Trucks, often heavily loaded with cargo, to attempt emergency maneuvers, such as pulling to the

side of the road. The Defect can also cause coolant and exhaust fumes to enter the passenger

compartment of the Trucks, risking driver poisoning from the fumes.

       10.     Navistar sold trucks containing the defective MaxxForce Engines under its

International brand name, including, but not limited to, the following models (collectively the

“Trucks”):

               a.      International ProStar and LoneStar, which are heavy duty, long haul

                       tractor trailer Trucks; and

               b.      International TranStar, a heavy duty, regional haul Truck.



                                                     4
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 8 of 128 PageID #:7073



        11.    All of the Trucks are “heavy-duty vehicles,” as defined by the Environmental

Protection Agency (40 C.F.R. § 1037.801). The Trucks are among the largest, heaviest, and

most powerful on the road.

B.      The Navistar Warranties

        12.    The Navistar Engines are covered by a number of express written warranties, all

of which were drafted by Navistar and all of which were non-negotiable and presented to

purchasers and lessees on a take-it-or-leave-it basis in documents provided after the sale.

        13.    Those warranties include (1) the Navistar Standard Warranty (exemplar attached

hereto as Exhibit A);4 (2) the Navistar Federal Emission System Warranty (see, e.g., “Engine

Operation and Maintenance Manual,” pp. 7-9, exemplar attached hereto as Exhibit B); (3) the

Navistar California Emission System Warranty (see, e.g., “Engine Operation and Maintenance

Manual,” pp.10-12); and (4) descriptions and affirmations of fact contained in Navistar’s

“Maintenance Information Guide” (exemplar attached hereto as Exhibit C).

        14.    Purchasers and lessees of Navistar Trucks were generally aware that warranties

came standard with the Trucks. Plaintiffs would not have purchased or leased the Trucks if

Navistar had not warranted them. As such, these warranties formed part of the basis of the

bargain.

        15.    With respect to the Emission System Warranties, such emissions-related

warranties are mandated by federal law and cannot be disclaimed.

        16.    Federal law sets forth the minimum requirements for an emissions-related

warranty, but manufacturers can issue one that is more generous than what federal law requires.


4
  The warranty attached as Exhibit A applies to specific models of Navistar trucks, but, on
information and belief, the same terms apply to all Engines in the Class.



                                                 5
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 9 of 128 PageID #:7074



       17.     Navistar’s Emissions Warranties go beyond the federal standard by (1) issuing a

federal emissions warranty that warrants against defects in design, in addition to warranting

against defects in materials and workmanship; and (2) warranting nationwide, to all Plaintiffs

and members of the Class, that the Trucks satisfy California’s emissions-related warranty

requirements, the most stringent emissions-related warranty requirements in the nation.

California’s emissions-related warranty requirements explicitly require manufacturers to warrant

against design defects that cause damage to the engine or otherwise prevent the vehicle from

operating.

       18.     In addition to the Standard Warranty, Federal Emission System Warranty, and

California Emissions System Warranty, Navistar issued a “Maintenance Information Guide” that

contained affirmations of fact and descriptions concerning the EGR Only System. Those

affirmations of fact expressly warranted: (i) that the Engines had “lower operating costs” and

“less hassle”; (ii) that the EGR Only System resulted in “optimal performance and low cost of

ownership”; (iii) that the design of the EGR Only System resulted in “better fuel efficiency,”

“more power to the wheels and less soot out the exhaust,” and “improved combustion”; (iv) that

the “Dual-path EGR cooling provides optimized cooled EGR … [that] allows long-term system

performance”; (v) that the Engine had “Premium Reliability”; (vi) that the “MaxxForce Engine

can be counted on to show up for work every day”; and (vii) that the Engine was “Always

Performing.” These express affirmations of material fact were woven into every purchase

agreement and became part of the basis of the bargain.

       19.     Any attempt by Navistar to limit its warranty obligations with respect to the

Defect is unconscionable and therefore unenforceable, and any attempt by Navistar to limit or

exclude remedies fails of its essential purpose and is therefore unenforceable, in light of the fact



                                                  6
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 10 of 128 PageID #:7075



that (i) the Defect in the MaxxForce Engines existed at the time of sale, and manifested both

within and outside the warranty period; (ii) Navistar had actual knowledge of the Defect prior to

sale, knowledge that Plaintiffs did not have and could not have discovered in the exercise of

reasonable diligence prior to purchase or lease; (iii) Navistar unilaterally drafted the express

warranties described herein and presented them on a take-it-or-leave-it basis post-sale; and (iv)

when presented with Trucks for repair under warranty, Navistar was unable to and did not fix the

problem, but merely replaced defective parts/systems with the same or similar defective

parts/systems, thereby ensuring additional failures during and after expiration of the warranty

period.

C.        As a Result of the Defect, the Trucks Repeatedly Fail, Uniformly Injuring Proposed
          Class Members.

          20.   Many owners and lessees of Trucks containing the MaxxForce Engines have

repeatedly repaired or replaced the EGR Only Systems and/or other parts damaged by EGR Only

System failure, often at their own expense, and often after Navistar failed to properly repair them

during the warranty. Those that have not already failed—and those that have been “repaired” by

Navistar under warranty by replacing defective parts/systems with defective parts/systems—are

substantially certain to fail well before their intended and expected useful life.

          21.   Indeed, Plaintiffs and Class Members experienced failures that stemmed from the

EGR strategy and from high soot and high temperatures. The Defect has caused, and is

substantially certain to continue to cause, the MaxxForce Engines to fail repeatedly within their

intended and expected useful life. For this reason, all Class members have been injured

uniformly. Among other things, all Class members paid a higher price than the one that would

have prevailed in the market had the Engines’ Defect been known outside of Navistar. Damages

as a result of this injury include:


                                                  7
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 11 of 128 PageID #:7076



                 a.      Payment of a higher price at the point of purchase or lease than would

                         have prevailed in the market had the true nature of the Trucks been

                         known.

                 b.      Loss of resale value because a defective Truck cannot be sold for the same

                         price as a comparable non-defective truck.

                 c.      Loss of profits and revenue, as well as harm to commercial reputation, as a

                         result of decreased reliability. For example, Plaintiffs lost profit and

                         revenue when they had to pay for repair costs and towing, as well as the

                         purchase, rental, and maintenance of additional Trucks.5

          22.    This action arises from Navistar’s knowledge that the emissions system designed

into the MaxxForce Engines has an inherent Defect that leads to repeated failures, and its failure

to disclose to, and active concealment from, Plaintiffs and all Class members, of that material

fact. The action also arises from Navistar’s failure to properly repair the Defect as required by

Navistar’s express and implied warranties. As a direct result, the Trucks equipped with the

defective Engines are not as represented by Navistar. At the time of sale, the Trucks equipped

with defective Engines were worth less than the price that Plaintiffs and Class members paid, and

worth less than what they would have been had the Engine been free of the Defect. In other

words, Plaintiffs and Class members did not get what they paid for.

          23.    On behalf of themselves and all Class members, Plaintiffs seek a) a declaratory

judgment that Navistar’s express warranties cover the Defect and related failures alleged here,

and that any/all attempts to limit or exclude remedies or claims contained in those warranties are

unconscionable and/or cause them to fail of their essential purpose, and/or b) injunctive relief


5
    Plaintiffs are only pursuing lost profits damages individually.


                                                   8
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 12 of 128 PageID #:7077



compelling Navistar to cover this Defect under its express warranties and prohibiting it from

enforcing any limitations of remedies or claims contained therein.

          24.    On behalf of themselves and all Class members, Plaintiffs also seek an award of

compensatory damages against Navistar for intentional, willful, and/or negligent failure to

disclose and/or concealment of the inherently defective and dangerous condition posed by the

MaxxForce Engines, and Navistar’s failure to honor its warranty obligation to properly repair the

Defect.

                                         II.    PARTIES

A.        Plaintiffs6

      i. Alabama entities

                            1. Wright Transportation, Inc.

          25.    Plaintiff Wright Transportation, Inc. (“Wright Transportation”) is an Alabama

corporation headquartered in Mobile, Alabama. Wright Transportation provided commercial

trucking services in Alabama and throughout the United States.

          26.    Wright Transportation purchased more than 100 ProStar tractor-trailers between

November 2010 and September 2012, each being equipped with the 13-liter MaxxForce diesel

engines manufactured by Navistar. Plaintiff purchased its vehicles from Ward International

Trucks of AL, LLC.

          27.    At all relevant times, these trucks and/or the MaxxForce Engines were covered by

a Navistar warranty, and Wright Transportation complied with all of its obligations under the

Navistar warranty.

6
 Plaintiffs are sorted by state of operation for the “Parties” section of the Second Amended
Complaint; however, the state of operation does not control all causes of action. Plaintiffs bring
specific causes of action based upon specific state sub-classes as noted in Section VIII, below.



                                                 9
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 13 of 128 PageID #:7078



       28.     The MaxxForce Engines in Plaintiff’s vehicles failed on numerous occasions due

to the Defect. These failures included total disablement, manifest poor acceleration, inadequate

air conditioning performance, an inability to handle lengthy periods of engine idle, rough idle,

chronic difficulty in starting the engine, instances of the engine not starting, chronic engine stall,

and loss of power during driving activities.

       29.     Due to failure of the Engines, the trucks broke down in circumstances and

locations that put the driver and the public at risk.

       30.     Within the express warranty period, Wright Transportation repeatedly complained

to Navistar about the aforementioned engine characteristics and demanded repair of the vehicles.

       31.     Within the express warranty period, Navistar refused to repair the engines or

initiate a responsive effort to repair the Engines consistent with its obligation. Navistar failed to

provide the promised warranty benefits for Wright Transportation’s vehicles despite Wright

Transportation’s continuing demand to do so and notwithstanding the earnest need for repairs,

the same within the warranty’s time and mileage eligibility.

       32.     Despite Wright Transportation delivering its trucks to authorized Navistar repair

centers and an increased effort to monitor and maintain the defective Engines, the engines

continued to chronically malfunction and Wright Transportation repeatedly was requested to

bring the malfunctioning vehicles to an authorized Navistar dealership. At all relevant times,

Navistar refused to perform an adequate, suitable or capable repair and/or refused to provide

repair services of any sort or type, requiring Wright Transportation to secure rental trucks to

meet the needs of its customers.

       33.     Despite knowing that Wright Transportation and the members of the Class had

bought Class Vehicles outfitted with Defective Engines that failed to perform wholly, or in



                                                  10
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 14 of 128 PageID #:7079



substantial part, Navistar responded by authorizing minor recalibrations, adjustments and

replacement of isolated components that Navistar knew would not repair the engines or its

related components. Diesel technicians working on Wright Transportation’s vehicles at

Navistar’s dealerships have repeatedly acknowledged the high and unusual volume of problems

inherent in the defective Engines.

       34.     Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in Plaintiff’s vehicles continued to fail due to the Defect.

       35.     Neither Navistar, nor any of its dealers or representatives, informed Wright

Transportation that the Engines were defective, or of Navistar’s misrepresentations and

omissions associated with the Defect. To the contrary, Navistar representatives assured Plaintiff

that they had run millions of miles on test tracks and that the defects had been corrected.

       36.     Had Wright Transportation been notified of the Defect, it would not have

purchased the trucks.

       37.     Wright Transportation has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Wright

Transportation seeks recovery of all actual damages (including direct, incidental, and

consequential damages), including:

               a.       Payment of a higher price at the point of purchase or lease than would

                        have prevailed in the market had the true nature of the Trucks been

                        known.




                                                11
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 15 of 128 PageID #:7080



               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.7

         38.   Wright Transportation’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.

                           2. Storey Trucking Company, Inc.

         39.   Plaintiff Storey Trucking Company, Inc. (“Storey Trucking”) is an Alabama

corporation with its principal place of business in Alabama.

         40.   Storey Trucking leased five Navistar ProStar Trucks, one Model Year 2011 and

four Model Year 2012, from Plaintiff Lakeside Leasing, Inc. The Trucks were equipped with

MaxxForce 13 Liter Engines.

         41.   Plaintiff Lakeside Leasing, Inc. (see below) purchased the Trucks in 2011 in

Tennessee.

         42.   At all relevant times, the Trucks and/or the MaxxForce Engines were covered by

the Navistar warranties.

         43.   Storey Trucking complied with all of its obligations under the Navistar warranty.

         44.   The MaxxForce Engines in Storey Trucking’s Trucks failed on numerous

occasions due to the Defect. These failures included cooler failures and other engine failures and

issues related to the faulty EGR Only System.

         45.   Due to failure of the Engines, the Trucks broke down in circumstances and

locations that put the driver and the public at risk.



7
  All Plaintiffs seek loss of profits and revenue, as well as harm to commercial reputation, on an
individual basis. Examples of this type of damages are lost profits and revenue when Plaintiffs
had to pay for repair costs and towing, as well as the purchase, rental, and maintenance of
additional Trucks


                                                  12
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 16 of 128 PageID #:7081



       46.     Within the express warranty period, Storey Trucking brought its Trucks to an

authorized Navistar repair facility for repair or replacement. Specifically, within 1 year of

purchase, the Trucks had been taken to the dealer for repairs 31 times.

       47.     Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in the Trucks continued to fail due to the Defect.

       48.     Neither Navistar, nor any of its dealers or representatives, informed Storey

Trucking that the Engines were defective, or of Navistar’s misrepresentations and omissions

associated with the Defect. To the contrary, Navistar representatives told Plaintiff that the

MaxxForce Engine did not have the Defect.

       49.     Had Storey Trucking been notified of the Defect, it would not have leased the five

Navistar vehicles, or it would have paid less for the lease of the Trucks.

                           3. Lakeside Leasing, Inc.

       50.     Plaintiff Lakeside Leasing, Inc. (“Lakeside”) is an Alabama corporation with its

principal place of business in Alabama.

       51.     Lakeside purchased five Navistar ProStar Trucks, one Model Year 2011 and four

Model Year 2012, and leased them to Plaintiff Storey Trucking. The Trucks were equipped with

MaxxForce 13 Liter Engines.

       52.     The Trucks were purchased in 2011 in Tennessee.

       53.     At all relevant times, the Trucks and/or the MaxxForce Engines were covered by

the Navistar warranties.

       54.     Lakeside complied with all of its obligations under the Navistar warranties.

       55.     The MaxxForce Engines in Lakeside’s Trucks failed on numerous occasions due

to the Defect. These failures included cooler failures and other engine failures and issues related

to the faulty EGR Only System.

                                                 13
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 17 of 128 PageID #:7082



       56.     Due to failure of the Engines, the Trucks broke down in circumstances and

locations that put the driver and the public at risk.

       57.     Within the express warranty period, Lakeside’s Trucks were taken to an

authorized Navistar repair facility for repair or replacement. Specifically, within one year of

purchasing the Trucks, they were taken to the dealer for repairs 31 times.

       58.     Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in Lakeside’s Trucks continued to fail due to the Defect. These

failures included cooler failures and other engine failures and issues related to the faulty EGR

Only System.

       59.     Neither Navistar, nor any of its dealers or representatives, informed Lakeside that

the Engines were defective, or of Navistar’s misrepresentations and omissions associated with

the Defect. To the contrary, Navistar’s representatives told Lakeside that the Engines did not

have the Defect.

       60.     Had Lakeside been advised of the Defect, it would not have purchased the Trucks,

or it would have paid less for them.

       61.     As a result of Navistar’s misrepresentations and omissions associated with the

Defect, both Storey Trucking and Lakeside suffered ascertainable losses. Storey Trucking and

Lakeside seek recovery of all actual damages including, but not limited to direct, incidental and

consequential damages including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.




                                                  14
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 18 of 128 PageID #:7083



               b.       Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

       62.     Storey Trucking’s and Lakeside’s experiences mirror those of thousands of other

owners and lessees of Trucks with the defective Engines.

   ii. Arkansas entities

                           1. C & T Transport

       63.     Plaintiff C & T Transport (“C & T Transport”) is an Arkansas corporation with its

principal place of business in Rogers, Arkansas. C & T Transport is a trucking industry

company that offers specialized custom logistics. It transports and warehouses food products

and provides logistical support on behalf of its customers.

       64.     C & T Transport purchased one used Navistar International ProStar Truck with a

MaxxForce 13 Engine, which it uses in the operation of its business. It purchased the Truck

from Summit Truck Group, a dealership in Lowell, Arkansas.

       65.     At all relevant times, the Truck and/or the MaxxForce Engine was covered by the

Navistar warranty.

       66.     The MaxxForce Engine in C & T Transport’s Truck failed on numerous occasions

due to the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.

       67.     Within the express warranty period, C & T Transport brought the Truck to an

authorized Navistar repair facility for repair or replacement.

       68.     Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engine in C & T Transport’s Truck continued to fail due to the Defect.




                                                 15
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 19 of 128 PageID #:7084



       69.     Neither Navistar, nor any of its dealers or representatives, informed C & T

Transport that the Engine was defective, or of Navistar’s misrepresentations and omissions

associated with the Defect.

       70.     Had C & T Transport been notified of the Defect, it would not have purchased the

Truck, or it would have paid less for it.

       71.     C & T Transport suffered ascertainable losses as a result of Navistar’s

misrepresentations and omissions associated with the Defect. C & T Transport seeks recovery of

all actual damages (including direct, incidental, and consequential damages), including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       72.     C & T Transport’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.

   iii. California entities

                           1. Two Star Trucking, Inc.

       73.     Plaintiff Two Star Trucking, Inc. (“Two Star”) is a California limited liability

company based out of Maywood, California.

       74.     Two Star purchased 12 Navistar International ProStar Trucks with MaxxForce 13

Engines from Westrux International in Montebello, California.

       75.     The MaxxForce Engine in Two Star’s Trucks failed on numerous occasions due

to the Defect, which should have been covered under warranty. Two Star complained to

Navistar and authorized service technicians on repeated occasions regarding the Defect and

                                                16
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 20 of 128 PageID #:7085



experienced failures that stemmed from the EGR strategy and from high soot and high

temperatures. Specifically, these failures included issues related to the faulty EGR Only System.

       76.     Two Star brought the Trucks to authorized Navistar repair facilities for repair or

replacement.

       77.     Despite attempts at repair, the MaxxForce Engines in Two Star’s Trucks

continued to fail due to the Defect. Neither Navistar, nor any of its dealers or representatives,

informed Two Star that the Engines were defective, or of Navistar’s misrepresentations and

omissions associated with the Defect.

       78.     Two Star experienced long wait times to have the Engine repaired. There were not

enough technicians or emissions system parts to repair the Defect.

       79.     Had Two Star been told of the Defect, it would not have purchased the Trucks, or

it would have paid less for them.

       80.     Two Star suffered ascertainable losses as a result of Navistar’s misrepresentations

and omissions associated with the Defect. Two Star seeks recovery of all actual damages

including, but not limited to direct, incidental and consequential damages including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       81.     Two Star’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.




                                                 17
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 21 of 128 PageID #:7086



   iv. Connecticut entities

                          1. Killer B Trucking LLC

       82.     Plaintiff Killer B Trucking LLC (“Killer B Trucking”) is a trucking company

based in Bristol, Connecticut.

       83.     Killer B Trucking bought four used International Model Year 2012 ProStar

Trucks with 13-liter Engines from MHC Truck Source Inc. in Kansas City, Kansas.

       84.     Killer B Trucking experienced numerous breakdowns with its ProStar vehicles,

most related to the emissions system.

       85.     Killer B Trucking complied with all of its obligations under the Navistar

warranty.

       86.     Despite bringing the vehicles to Navistar authorized repair facilities within the

express warranty period for repair, the Engines continued to experience the same Defect.

       87.     While under warranty, the vehicles required multiple engine repairs, each of

which required the Truck to be in the shop for extended periods of time.

       88.     Only Navistar authorized technicians could work on the Engines’ defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       89.     Had Killer B Trucking known of the Defect, it would not have purchased the

Trucks or it would have paid less for them.

       90.     Killer B Trucking has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Killer B Trucking

seeks recovery of all actual damages (including direct, incidental, and consequential damages),

including:



                                                18
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 22 of 128 PageID #:7087



                a.      Payment of a higher price at the point of purchase or lease than would

                        have prevailed in the market had the true nature of the Trucks been

                        known.

                b.      Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

        91.     Killer B Trucking’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.

    v. Florida entities

                            1. Lance R. Edwards

        92.     Plaintiff Lance R. Edwards (“Edwards”) is a resident of Lakeland, Florida, and a

citizen of the State of Florida.

        93.     Mr. Edwards provided commercial trucking services hauling dry freight and

container vans.

        94.     Mr. Edwards bought a used International Model Year 2012 ProStar Truck with a

13-liter Engine from a Navistar Used Truck Center in Tampa, Florida.

        95.     Mr. Edwards experienced numerous breakdowns with the ProStar vehicle, most

related to the emissions system.

        96.     Despite bringing the vehicle to Navistar authorized repair facilities within the

express warranty period for repair, the Engine continued to experience the same Defect.

        97.     While under warranty, the vehicle required multiple engine repairs, each of which

required the Truck to be in the shop for extended periods of time.

        98.     Mr. Edwards complied with all of his obligations under the Navistar warranty.




                                                 19
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 23 of 128 PageID #:7088



       99.     Only the Navistar authorized technicians could work on the Engine’s defective

emissions system. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       100.    Had Mr. Edwards known of the Defect, he would not have purchased the Truck or

would have paid less for it.

       101.    Plaintiff Edwards has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Plaintiff Edwards

seeks recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       102.    Plaintiff Edwards’ experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.

                           2. Peninsular Transfer Inc.

       103.    Plaintiff Peninsular Transfer Inc. (“Peninsular Transfer”) is a trucking company

based in Miami, Florida.

       104.    Peninsular Transfer bought a used International Model Year 2011 ProStar Truck

with a 13-liter Engine from International Used Truck Center of Atlanta in Atlanta, Georgia.

       105.    Peninsular Transfer experienced breakdowns with its ProStar vehicle, most

related to the emissions system.



                                                20
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 24 of 128 PageID #:7089



       106.    Peninsular Transfer complied with all of its obligations under the Navistar

warranty.

       107.    Despite bringing the vehicle to Navistar authorized repair facilities for repair, the

Engine continued to experience the same Defect.

       108.    The vehicle required multiple engine repairs, each of which required the Truck to

be in the shop for extended periods of time.

       109.    Only the Navistar authorized technicians could work on the Engine’s defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       110.    Had Peninsular Transfer known of the Defect, it would not have purchased the

Truck or it would have paid less for it.

       111.    Peninsular Transfer has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Peninsular Transfer

seeks recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       112.    Peninsular Transfer’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.




                                                 21
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 25 of 128 PageID #:7090



                           3. Vera Transport, LLC

       113.    Plaintiff Vera Transport, LLC (“Vera Transport”) is a Florida trucking company

based in Davie, Florida.

       114.    Vera Transport bought two used International Model Year 2012 ProStar trucks

with 13-liter Engines from Westrux International Trucks of Southern California in Fontana,

California.

       115.    Vera Transport experienced numerous breakdowns with its ProStar vehicles, most

related to the emissions system.

       116.    The vehicles required multiple engine repairs, some of which required the Truck

to be in the shop for extended periods of time.

       117.    Only Navistar authorized technicians could work on the Engines’ defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       118.    Had Vera Transport known of the Defect, it would not have purchased the Trucks

or it would have paid less for them.

       119.    Vera Transport has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Vera Transport seeks

recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.     Payment of a higher price at the point of purchase or lease than would

                      have prevailed in the market had the true nature of the Trucks been

                      known.

               b.     Loss of resale value because a defective Truck cannot be sold for the same

                      price as a comparable non-defective truck.

                                                  22
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 26 of 128 PageID #:7091



       120.      Vera Transport’s experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engines.

   vi. Idaho entities

                            1. David A. Lord

       121.      Plaintiff David A. Lord d/b/a Lord AG Transportation (“Lord AG”) is an Idaho

sole proprietorship with its principal place of business in Idaho.

       122.      Lord AG purchased a 2011 International ProStar on or about September 21, 2012

in Idaho.

       123.      This Truck was equipped with a MaxxForce Engine.

       124.      At all relevant times, the Truck and/or the MaxxForce Engine were covered by a

Navistar warranty.

       125.      Lord AG complied with all of its obligations under the Navistar warranty.

       126.      The MaxxForce Engine in Lord AG’s vehicle failed on numerous occasions due

to the Defect.

       127.      Due to failure of the Engine, the Truck broke down in circumstances and

locations that put the driver and the public at risk.

       128.      Within the express warranty period, Lord AG’s vehicle was brought to an

authorized Navistar repair facility for repair or replacement.

       129.      Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engine in Lord AG’s vehicle continued to fail due to the Defect.

       130.      Neither Navistar, nor any of its dealers or representatives informed Lord AG that

the Engine was defective, or of Navistar’s misrepresentations and omissions associated with the

Defect. To the contrary, Navistar representatives told Lord AG that the MaxxForce Engine did

not have the Defect.

                                                  23
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 27 of 128 PageID #:7092



        131.    Had Lord AG been notified of the Defect, it would not have purchased the Truck,

or it would have paid less for it.

        132.    Lord AG has suffered ascertainable losses as a result of the Navistar Defendants’

misrepresentations and omissions associated with the Defect. Lord AG seeks recovery of all

actual damages (including direct, incidental, and consequential damages), including:

                a.      Payment of a higher price at the point of purchase or lease than would

                        have prevailed in the market had the true nature of the Trucks been

                        known.

                b.      Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

        133.    Lord AG’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.

  vii. Illinois entities

                            1. Carmichael Leasing Co., Inc.

        134.    Plaintiff Carmichael Leasing Co., Inc. (“Carmichael”) is a family-owned business

headquartered in Chicago, Illinois and incorporated in Illinois. It was founded in 1972 and has

been in continuous operation ever since.

        135.    Plaintiff Carmichael is a full service and full maintenance truck leasing company,

with a strong foothold in providing refrigerated trucks.

        136.    Plaintiff Carmichael has a long-standing relationship with Navistar. Up until

2003, Plaintiff Carmichael purchased almost exclusively Navistar vehicles.

        137.    Plaintiff Carmichael purchased 19 new International TranStar vehicles with 13-

liter engines from Chicago International Truck in Chicago, Illinois.



                                                24
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 28 of 128 PageID #:7093



          138.   Plaintiff Carmichael typically owns its trucks for 8 years before needing to

replace them.

          139.   Plaintiff Carmichael has experienced numerous breakdowns with its Navistar

vehicles, most related to the emissions system. Despite bringing the vehicles to Navistar

authorized repair facilities within the express warranty period for repair, the Engines continued

to experience the same Defect, often within six months.

          140.   Neither Navistar nor any of its dealers or representatives, informed Carmichael of

Navistar’s misrepresentations and omissions associated with the Defect. To the contrary,

Navistar’s representatives told Carmichael that the 2011 and 2012 Engines did not have the

Defect.

          141.   Had Carmichael been told of the Defect, it would not have purchased the Trucks,

or it would have paid less for them.

          142.   As a result of Navistar’s misrepresentations and omissions associated with the

Defect, Carmichael has suffered ascertainable losses as a result of the Navistar Defendants’

misrepresentations and omissions associated with the Defect, including:

                 a.     Payment of a higher price at the point of purchase or lease than would

                        have prevailed in the market had the true nature of the Trucks been

                        known.

                 b.     Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

          143.   Carmichael’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.




                                                  25
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 29 of 128 PageID #:7094



                            2. Robert Grieser

        144.    Plaintiff Robert Grieser (“Grieser”) resides in Pekin, Illinois, and is a citizen of

the State of Illinois.

        145.    Mr. Grieser bought a new International Model Year 2012 ProStar Truck with 13-

liter Engine for $124,000 from Husky Trucks International in Seattle, Washington.

        146.    Mr. Grieser experienced numerous breakdowns with his ProStar vehicle, most

related to the emissions system.

        147.    Mr. Grieser complied with all of his obligations under the Navistar warranty.

        148.    Despite bringing the vehicle to Navistar authorized repair facilities within the

express warranty period for repair, the Engine continued to experience the same Defect.

        149.    While under warranty, the vehicle required multiple engine repairs, each of which

required the Truck to be in the shop for extended periods of time.

        150.    Only Navistar authorized technicians could work on the Engine’s defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

        151.    Had Mr. Grieser known of the Defect, he would not have purchased the Truck or

would have paid less for it.

        152.    Mr. Grieser has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Mr. Grieser seeks

recovery of all actual damages (including direct, incidental, and consequential damages),

including:

                a.       Payment of a higher price at the point of purchase or lease than would

                         have prevailed in the market had the true nature of the Trucks been

                         known.

                                                  26
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 30 of 128 PageID #:7095



               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       153.    Plaintiff Grieser’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines .

                           3. Randy Quick

       154.    Plaintiff Randy Quick (“Quick”) resides in Buffalo, Illinois, is a citizen of the

State of Illinois, and operates a truck for the benefit of R. Quick Trucking Inc.

       155.    Mr. Quick bought a used International Model Year 2011 ProStar Truck with a 13-

liter Engine from an International Used Truck Center in Indianapolis, Indiana.

       156.    Mr. Quick experienced numerous breakdowns with his ProStar vehicle, most

related to the emissions system.

       157.    Mr. Quick complied with all of his obligations under the Navistar warranty.

       158.    Despite bringing the vehicle to Navistar authorized repair facilities within the

express warranty period for repair, the Engine continued to experience the same Defect.

       159.    While under warranty, the vehicle required multiple engine repairs, each of which

required the Truck to be in the shop for extended periods of time.

       160.    Only Navistar authorized technicians could work on the Engine’s defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       161.    Had Mr. Quick known of the Defect, he would not have purchased the Truck or it

would have paid less for it.

       162.    Mr. Quick has suffered ascertainable losses as a result of the Navistar Defendants’

misrepresentations and omissions associated with the Defect. Mr. Quick seeks recovery of all

actual damages (including direct, incidental, and consequential damages), including:

                                                 27
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 31 of 128 PageID #:7096



               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       163.    Mr. Quick’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.

       4. GT Expedited, Inc., Go To Logistics, Inc., and ToGo Express, Inc.

       164.    Plaintiffs GT Expedited, Inc.; Go To Logistics, Inc.; and ToGo Express, Inc.

(collectively “Go To”) are family-owned Illinois businesses operating out of Northlake, Illinois.

       165.    In 2011, ToGo Express, Inc., purchased 12 Navistar International ProStar Trucks

with 13-liter Engines from Chicago International Trucks in Forest View, Illinois. Both GT

Expedited, Inc., and Go To Logistics, Inc. lease trucks from ToGo Express, Inc., and Go To

Logistics, Inc. pays for repairs to leased rucks.

       166.    Go To experienced numerous breakdowns with the Trucks—most related to the

emissions system—resulting in extended periods of time of up to two months when the Trucks

were not drivable due to the Defects.

       167.    The Trucks were covered by Navistar’s warranty, and Go To complied with all of

its obligations under the Navistar warranty.

       168.    After repeated Engine failures, and multiple engine repairs, Go To complained to

Navistar representatives, the dealership, and sales representatives. Eventually, Go To was able

to negotiate a trade to Navistar’s 2013 Model Year MaxxForce 13-liter Engines, provided that

Go To pay for the mileage already accrued on its 2012 Trucks. Under the trade, Go To was still

responsible for paying the entire original cost of the Trucks.

                                                    28
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 32 of 128 PageID #:7097



       169.    Despite assurances that the Trucks would not experience the same problems, they

did.

       170.    Had Go To known of the Defect, it would not have purchased the Trucks or

would have paid less for them.

       171.    Go To has suffered ascertainable losses as a result of the Navistar Defendants’

misrepresentations and omissions associated with the Defect. Go To seeks recovery of all actual

damages (including direct, incidental, and consequential damages), including:

               a.     Payment of a higher price at the point of purchase or lease than would

                      have prevailed in the market had the true nature of the Trucks been

                      known.

               b.     Loss of resale value because a defective Truck cannot be sold for the same

                      price as a comparable non-defective truck.

       172.    Go To’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.

 viii. Indiana entities

                          1. Binder Trucking, Inc.

       173.    Plaintiff Binder Trucking, Inc. (“Binder Trucking”) is a leased contractor for

Federal Express Ground, based in Franklin, Indiana.

       174.    Binder Trucking bought a total of five used International Model Year 2012

ProStar Trucks with 13-liter Engines from Navistar, Inc. in Ohio.

       175.    Binder Trucking experienced numerous breakdowns with its five ProStar

vehicles, most related to the emissions system.

       176.    Binder Trucking complied with all of its obligations under the Navistar warranty.



                                                  29
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 33 of 128 PageID #:7098



       177.    Despite bringing the vehicles to Navistar authorized repair facilities within the

express warranty period for repair, the Engines continued to experience the same Defect.

       178.    While under warranty, each vehicle required multiple engine repairs, many of

which required the Truck to be in the shop for extended periods of time.

       179.    Only Navistar authorized technicians could work on the Engines’ defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       180.    Had Binder Trucking known of the Defect, it would not have purchased the

Trucks or it would have paid less for them.

       181.    Binder Trucking, Inc. has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Binder Trucking

seeks recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.     Payment of a higher price at the point of purchase or lease than would

                      have prevailed in the market had the true nature of the Trucks been

                      known.

               b.     Loss of resale value because a defective Truck cannot be sold for the same

                      price as a comparable non-defective truck.

       182.    Binder Trucking’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.

   ix. Kentucky entities

                          1. Fike Logistics, Inc.

       183.    Plaintiff Fike Logistics, Inc. (“Fike Logistics”) is a Kentucky corporation with its

principal place of business in Hazel, Kentucky.

                                                  30
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 34 of 128 PageID #:7099



       184.    In or about May 2013, Fike Logistics purchased two Trucks with MaxxForce 13

Engines in Texas, which it used in the operation of its business.

       185.    In or about June 2013, Fike Logistics purchased three Trucks with MaxxForce 13

Engines in North Carolina, which it used in the operation of its business.

       186.    Each of these Trucks was equipped with a MaxxForce Engine.

       187.    At all relevant times, these Trucks and/or the MaxxForce Engines were covered

by a Navistar warranty.

       188.    Fike Logistics complied with all of its obligations under the Navistar warranty.

       189.    The MaxxForce Engines in Fike Logistics’ vehicles failed on numerous occasions

due to the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.

       190.    Due to failure of the Engines, the Trucks broke down in circumstances and

locations that put the driver and the public at risk.

       191.    Within the express warranty period, Fike Logistics’ vehicles were brought to an

authorized Navistar repair facility for repair or replacement.

       192.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in Fike Logistics’ vehicles continued to fail due to the Defect.

The Engines did not function as required and will not do so for the expected life of the vehicles.

       193.    Neither Navistar, nor any of its dealers or representatives, informed Fike Logistics

that the Engines were defective, or of Navistar’s misrepresentations and omissions associated

with the Defect. To the contrary, Navistar representatives told Fike Logistics that the

MaxxForce Engine did not have the Defect.




                                                  31
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 35 of 128 PageID #:7100



       194.    Had Fike Logistics been notified of the Defect, it would not have purchased the

Trucks.

       195.    As a result of Navistar’s misrepresentations and omissions associated with the

Defect, Fike Logistics suffered ascertainable losses. Fike Logistics seeks recovery of all actual

damages including, but not limited to direct, incidental and consequential damages including:

               a.     Payment of a higher price at the point of purchase or lease than would

                      have prevailed in the market had the true nature of the Trucks been

                      known.

               b.     Loss of resale value because a defective Truck cannot be sold for the same

                      price as a comparable non-defective truck.

       196.    Fike Logistics’ experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engines.

   x. Massachusetts entities

                          1. Robert Constantine

       197.    Plaintiff Robert Constantine (“Constantine”) is a resident of Sturbridge,

Massachusetts, and a citizen of the State of Massachusetts.

       198.    Mr. Constantine bought a used International Model Year 2012 ProStar Truck with

a 13-liter Engine from Don Baskin Truck Sales LLC in Covington, Tennessee.

       199.    Mr. Constantine experienced numerous breakdowns with his ProStar Truck, most

related to the emissions system.

       200.    Mr. Constantine complied with all of his obligations under the Navistar warranty.

       201.    Despite bringing the vehicle to Navistar authorized repair facilities within the

express warranty period for repair, the Engine continued to experience the same Defect.



                                                32
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 36 of 128 PageID #:7101



       202.    The vehicle required multiple engine repairs, each of which required the Truck to

be in the shop for extended periods of time.

       203.    Only Navistar authorized technicians could work on the Engine’s defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       204.    Had Mr. Constantine known of the Defect, he would not have purchased the

Truck or would have paid less for it.

       205.    Mr. Constantine has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Plaintiff Constantine

seeks recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       206.    Mr. Constantine’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.

   xi. New Jersey entities

                          1. Joandnas Operations, Inc.

       207.    Joandnas Operations Inc. (“Joandnas”) is a New Jersey trucking company with its

principal place of business in the state of New Jersey.

       208.    Joandnas purchased two used 13-liter 2012 International ProStar Trucks, Model

Year 2012 at the Truck Country of Iowa in Dubuque, Iowa at a live auction.

                                                33
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 37 of 128 PageID #:7102



       209.    The Trucks and/or the MaxxForce Engines would have been covered by a

Navistar warranty when they were brought in for repairs.

       210.    Joandnas complied with all of its obligations under the Navistar warranty.

       211.    Joandnas’s vehicles experienced numerous failures of EGR Only System

components, which resulted in an inability to employ drivers who will drive its Trucks due to

these long inoperable periods for repairs.

       212.    Despite bringing these vehicles to a Navistar authorized repair facility, the

engines continued to experience the same Defect.

       213.    Joandnas has incurred significant costs for the replacement repairs required for all

of the engine and EGR issues, and these replacements did not repair the Defect, which remained

in the Engines after the replacements were done.

       214.    Had Joandnas known of the Defect, it would not have purchased the Trucks or it

would have paid less for them.

       215.    Joandnas has suffered ascertainable losses as a result of the Navistar Defendants’

misrepresentations and omissions associated with the Defect. Joandnas seeks recovery of all

actual damages (including direct, incidental, and consequential damages), including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       216.    Joandnas’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.



                                                34
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 38 of 128 PageID #:7103



                           2. A-Rapid Logistics

       217.    Plaintiff A-Rapid Logistics (“A-Rapid Logistics”) is a New Jersey corporation

with its principal place of business in Englewood, New Jersey. A-Rapid Logistics is a trucking

company employer that offers specialized custom logistics shipping freight for Federal Express,

and it transports products and provides logistical support on its behalf.

       218.    A-Rapid is leasing one used Navistar International ProStar Truck with a

MaxxForce 13 Engine, which it uses in the operation of its business. Alka Trucking (see below)

purchased the Truck from Ransome CAT, a dealership in Bensalem, Pennsylvania.

       219.    At all relevant times, the Truck and/or the MaxxForce Engine was covered by the

Navistar warranty.

       220.    The MaxxForce Engine in A-Rapid Logistics’s Truck failed on numerous

occasions due to the Defect. These failures included numerous operational warnings and

breakdowns necessitating repair.

       221.    Within the express warranty period, A-Rapid Logistics brought the Truck to an

authorized Navistar repair facility for repair or replacement.

       222.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in A-Rapid Logistics’ Truck continued to fail due to the Defect.

       223.    Neither Navistar, nor any of its dealers or representatives, informed A-Rapid

Logistics that the Engine was defective, or of Navistar’s misrepresentations and omissions

associated with the Defect.

       224.    A-Rapid Logistics suffered ascertainable losses as a result of Navistar’s

misrepresentations and omissions associated with the Defect. A-Rapid Logistics seeks recovery

of all actual damages (including direct, incidental, and consequential damages).



                                                 35
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 39 of 128 PageID #:7104



       225.    A-Rapid Logistics’ experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engine.

                           3. Alka Trucking, Inc.

       226.    Plaintiff Alka Trucking, Inc. (“Alka Trucking”) is a New Jersey corporation with

its principal place of business in Englewood, New Jersey. Alka Trucking is a trucking company

employer that offers specialized custom logistics shipping freight for Federal Express, and it

transports products and provides logistical support on its behalf.

       227.    Alka Trucking purchased one used Navistar International ProStar Truck with a

MaxxForce 13 Engine, which it uses in the operation of its business. It purchased the Truck

from Ransome CAT, a dealership in Bensalem, Pennsylvania.

       228.    At all relevant times, the Truck and/or the MaxxForce Engine was covered by the

Navistar warranty.

       229.    The MaxxForce Engine in Alka Trucking’s Truck failed on numerous occasions

due to the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.

       230.    Within the express warranty period, Alka Trucking brought the Truck to an

authorized Navistar repair facility for repair or replacement.

       231.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in Alka Trucking’s Truck continued to fail due to the Defect.

       232.    Neither Navistar, nor any of its dealers or representatives, informed Alka

Trucking that the Engine was defective, or of Navistar’s misrepresentations and omissions

associated with the Defect.

       233.    Had Alka Trucking been notified of the Defect, it would not have purchased the

Truck, or it would have paid less for it.

                                                 36
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 40 of 128 PageID #:7105



       234.    Alka Trucking suffered ascertainable losses as a result of Navistar’s

misrepresentations and omissions associated with the Defect. Alka Trucking seeks recovery of

all actual damages (including direct, incidental, and consequential damages), including:

               a.        Payment of a higher price at the point of purchase or lease than would

                         have prevailed in the market had the true nature of the Trucks been

                         known.

               b.        Loss of resale value because a defective Truck cannot be sold for the same

                         price as a comparable non-defective truck.

       235.    Alka Trucking’s experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engine.

                            4. Ferraro Foods, Inc.

       236.    Plaintiff Ferraro Foods, Inc. (“Ferraro Foods”) is a New Jersey corporation with

its principal place of business in Piscataway, New Jersey. Ferraro Foods is a trucking industry

employer that offers specialized custom logistics. It transports and warehouses food products

and provides logistical support on behalf of its customers.

       237.    Ferraro Foods purchased twenty new Navistar International ProStar Trucks with

MaxxForce 13 Engines used in the operation of its business. It purchased the Trucks from a

Brown Truck Group, a dealership in Bloomsbury, New Jersey.

       238.    At all relevant times, the Trucks and/or the MaxxForce Engines were covered by

the Navistar warranty.

       239.    The MaxxForce Engines in Ferraro Foods’ Trucks failed on numerous occasions

due to the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.



                                                 37
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 41 of 128 PageID #:7106



       240.    Within the express warranty period, Ferraro Foods brought the Trucks to an

authorized Navistar repair facility for repair or replacement.

       241.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in Ferraro Foods’ Trucks continued to fail due to the Defect.

       242.    Neither Navistar, nor any of its dealers or representatives, informed Ferraro Foods

that the Engines were defective, or of Navistar’s misrepresentations and omissions associated

with the Defect.

       243.    Had Ferraro Foods been notified of the Defect, it would not have purchased the

Trucks, or it would have paid less for them.

       244.    Ferraro Foods suffered ascertainable losses as a result of Navistar’s

misrepresentations and omissions associated with the Defect. Ferraro Foods seeks recovery of

all actual damages (including direct, incidental, and consequential damages), including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       245.    Ferraro Foods’ experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engines.

  xii. North Carolina entities

                           1. Jenkins Unlimited, Inc.

       246.    Plaintiff Jenkins Unlimited, Inc. (“Jenkins Unlimited”) is a North Carolina

trucking company moving recycled materials based in Sanford, North Carolina.



                                                 38
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 42 of 128 PageID #:7107



       247.    Jenkins Unlimited bought four used International Model Year 2011 ProStar

Trucks with 13-liter Engines from Navistar in Charlotte, North Carolina.

       248.    Jenkins Unlimited experienced numerous breakdowns with its ProStar vehicles,

most related to the emissions system.

       249.    Jenkins Unlimited complied with all of its obligations under the Navistar

warranty.

       250.    Despite bringing the vehicles to Navistar authorized repair facilities within the

express warranty period for repair, the Engine continued to experience the same Defect.

       251.    While under warranty, the vehicles required multiple engine repairs, each of

which required the Trucks to be in the shop for extended periods of time.

       252.    Only authorized Navistar technicians could work on the Engines’ defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       253.    Had Jenkins Unlimited known of the Defect, it would not have purchased the

Trucks or it would have paid less for them.

       254.    Jenkins Unlimited has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Jenkins Unlimited

seeks recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.     Payment of a higher price at the point of purchase or lease than would

                      have prevailed in the market had the true nature of the Trucks been

                      known.




                                                39
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 43 of 128 PageID #:7108



                b.      Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

        255.    Jenkins Unlimited’s experience mirrors that of thousands of other owners and

lessees of Trucks with the defective Engines.

                            2. Phifer Trucking, Inc.

        256.    Plaintiff Phifer Trucking, Inc. (“Phifer Trucking”) is a North Carolina long-haul

trucking company moving general commodities, based in Marshville, North Carolina.

        257.    Phifer Trucking bought one used International Model Year 2010 ProStar Truck

with a 13-liter Engine from Rush International Truck Center in Charlotte, North Carolina.

        258.    Phifer Trucking experienced numerous breakdowns with its ProStar vehicle, and

failures that stemmed from the EGR strategy and from high soot and high temperatures.

        259.    Phifer brought the Truck to Navistar authorized repair facilities, and had to pay

out of pocket despite requesting that the repairs be covered under warranty. Despite numerous

repairs, the Engine continued to experience the same Defect.

        260.    The vehicle required multiple engine repairs, each of which required the Truck to

be in the shop for extended periods of time.

        261.    Only authorized Navistar technicians could work on the Engine’s defective

emissions systems. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

        262.    Had Phifer Trucking known of the Defect, it would not have purchased the Truck

or it would have paid less for it.

        263.    Phifer Trucking has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Phifer Trucking seeks



                                                 40
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 44 of 128 PageID #:7109



recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.       Payment of a higher price at the point of purchase or lease than would

                        have prevailed in the market had the true nature of the Trucks been

                        known.

               b.       Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

       264.    Phifer Trucking’s experiences mirror that of thousands of other owners and

lessees of Trucks with the defective Engines.

 xiii. Oregon entities

                           1. Ronald L. Anderson; RLA Holdings, LLC; and A&K
                              Development Co.

       265.    Plaintiff Ronald L. Anderson resides in Eugene, Oregon, and is a citizen of the

State of Oregon.

       266.    Plaintiff RLA Holdings, LLC (“RLA”) is a limited liability company organized

under the laws of the State of Oregon. Ronald L. Anderson is the sole member and 100% owner

of RLA.

       267.    Plaintiff A&K Development Co. (“A&K”) is an Oregon corporation. Ronald L.

Anderson is the president and sole shareholder of A&K.

       268.    RLA bought a used International Model Year 2012 ProStar Truck from Westside

Truck & Equipment Sales in Portland, Oregon.

       269.    RLA experienced numerous breakdowns with the ProStar vehicle, most related to

the emissions system.




                                                41
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 45 of 128 PageID #:7110



        270.    Only authorized Navistar technicians could work on the Engine’s defective

emissions system. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

        271.    Had RLA known of the Defect, it would not have purchased the Truck or would

have paid less for it.

        272.    In May 2017, RLA transferred ownership of the Truck to A&K.

        273.    Plaintiffs Anderson, RLA, and A&K have suffered ascertainable losses as a result

of the Navistar Defendants’ misrepresentations and omissions associated with the Defect.

Plaintiffs Anderson, RLA, and A&K seek recovery of all actual damages (including direct,

incidental, and consequential damages), including:

                a.       Payment of a higher price at the point of purchase or lease than would

                         have prevailed in the market had the true nature of the Truck been known.

                b.       Loss of resale value because a defective Truck cannot be sold for the same

                         price as a comparable non-defective truck.

        274.    The experiences of Anderson, RLA, and A&K mirror that of thousands of other

owners and lessees of Trucks with the defective Engines.

                            2. Victor Caballero

        275.    Plaintiff Victor Caballero (“Caballero”) resides in Salem, Oregon, and is a citizen

of the State of Oregon.

        276.    Mr. Caballero provides commercial trucking services individually and through

Citlalli Trucking LLC, an Oregon limited liability company.

        277.    Mr. Caballero bought a used International Model Year 2012 ProStar Truck with a

13-liter Engine from MHC Kenworth in Fort Worth, Texas.



                                                 42
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 46 of 128 PageID #:7111



       278.    Mr. Caballero experienced numerous breakdowns with the ProStar vehicle, most

related to the emissions system.

       279.    Despite bringing the vehicle to Navistar authorized repair facilities the Engine

continued to experience the same Defect.

       280.    The vehicle required multiple engine repairs, each of which required the Truck to

be in the shop for days.

       281.    Only Navistar authorized technicians could work on the Engine’s defective

emissions system. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       282.    Had Mr. Caballero known of the Defect, he would not have purchased the Truck

or would have paid less for it.

       283.    Mr. Caballero has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Mr. Caballero seeks

recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       284.    Mr. Caballero’s experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engines.




                                                43
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 47 of 128 PageID #:7112



 xiv. Pennsylvania entities

                           1. Gettysburg Auto Transport, LLC

       285.     Plaintiff Gettysburg Auto Transport, LLC (“Gettysburg”), is a Pennsylvania

limited liability company with its principal place of business in Orrtanna, Pennsylvania.

       286.     Gettysburg ordered an International 20118600 SBA 4x2 Day Cab containing a

MaxxForce 13 Engine utilizing the EGR Only System to reduce diesel exhaust emissions in or

about March of 2010.

       287.     Gettysburg purchased the Truck from Navistar through its dealer, Central

Maryland International Trucks, LLC located at 1301 East Patrick Street in Frederick, Maryland.

       288.     Navistar tendered delivery of the Truck to Gettysburg at the dealership in or about

June of 2010.

       289.     At all relevant times, the Truck and/or the MaxxForce Engine was covered by the

Navistar warranties.

       290.     Gettysburg complied with all of its obligations under the Navistar warranties.

       291.     The MaxxForce Engine in Gettysburg’s vehicle failed on numerous occasions due

to the Defect. Soon after purchase, Gettysburg experienced numerous failures with the

MaxxForce Engine including warnings, underperformance, break down, overheating, or faltering

that required remediation and repair by service technicians.

       292.     Specifically, Gettysburg experienced failures that stemmed from the EGR strategy

and from high soot and high temperatures including, but not limited to, exhaust leaks, exhaust

valve failures, repeated failure of air conditioning systems, belts and harness failures, multiple

instances of EGR system failure, exhaust component failures, and other malfunctioning

components and system failures that affected the usability of the vehicle as warranted and

represented by Navistar and its representatives.

                                                   44
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 48 of 128 PageID #:7113



       293.    Due to failure of the Engine, the Truck broke down in circumstances and

locations that put the driver and the public at risk.

       294.    Within the express warranty period, Gettysburg brought its Truck to an authorized

Navistar repair facility for repair or replacement.

       295.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engine in Gettysburg’s vehicle continued to fail due to the Defect.

These failures included the same failures identified above.

       296.    Neither Navistar, nor any of its dealers or representatives, informed Gettysburg

that the Engines were defective, or of Navistar’s misrepresentations and omissions associated

with the Defect. To the contrary, Navistar representatives told Gettysburg that the MaxxForce

Engine was reliable.

       297.    Had Gettysburg been notified of the Defect, it would not have purchased the

Truck, or it would have paid less for it.

       298.    Gettysburg suffered ascertainable losses as a result of the Navistar Defendants’

misrepresentations and omissions associated with the Defect, and seeks recovery of all actual

damages including, but not limited to direct, incidental and consequential damages including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       299.    Gettysburg’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.



                                                  45
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 49 of 128 PageID #:7114



  xv. South Carolina entities

                           1. The Cross Express

       300.    Plaintiff The Cross Express (“Cross Express”) is a South Carolina sole proprietor

with its principal place of business in Lexington, South Carolina. Cross Express is a trucking

industry company that offers specialized custom logistics relating to shipping containers. It

transports shipping products and provides logistical support on behalf of its customers.

       301.    Cross Express purchased one used Navistar International ProStar Truck with a

MaxxForce 13 Engine, which it uses in the operation of its business. It purchased the Truck

from World Wide Equipment Greenville Division, Greenville, South Carolina.

       302.    The MaxxForce Engine in Cross Express’s Truck failed on numerous occasions

due to the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.

       303.    Within the express warranty period, Cross Express brought the Truck to an

authorized Navistar repair facility for repair or replacement.

       304.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engine in Cross Express’s Truck continued to fail due to the Defect.

       305.    Neither Navistar, nor any of its dealers or representatives, informed Cross Express

that the Engine was defective, or of Navistar’s misrepresentations and omissions associated with

the Defect.

       306.    Had Cross Express been notified of the Defect, it would not have purchased the

Truck, or it would have paid less for it.

       307.    Cross Express suffered ascertainable losses as a result of Navistar’s

misrepresentations and omissions associated with the Defect. Cross Express seeks recovery of

all actual damages (including direct, incidental, and consequential damages), including:

                                                 46
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 50 of 128 PageID #:7115



                a.     Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

                b.     Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

         308.   Cross Express’s experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engine.

    xvi. Tennessee entities

                           1. Leonard Butler8

         309.   Plaintiff Leonard Butler (“Butler”) is a resident of Murfreesboro, Tennessee, and

a citizen of the State of Tennessee.

         310.   Mr. Butler bought a used International Model Year 2012 ProStar Truck with a 13-

liter Engine from International Used Truck Center of Nashville in LaVergne, Tennessee.

         311.   Mr. Butler experienced numerous breakdowns with the ProStar vehicle, most

related to the emissions system.

         312.   Despite bringing the vehicle to Navistar authorized repair facilities within the

express warranty period for repair, the Engine continued to experience the same Defect.

         313.   While under warranty, the vehicle required multiple engine repairs, each of which

required the Truck to be in the shop for extended periods of time.

         314.   Mr. Butler complied with all of his obligations under the Navistar warranty.


8
  Unfortunately, because of the substantial losses Mr. Butler suffered due to the Defect in the
Navistar Truck, Mr. Butler recently declared bankruptcy. See In re Leonard Howard Butler,
Robbie Elaine Butler, No. 17-bk-04037 (Bankr. M.D. Tenn.). Plaintiffs’ counsel has been in
correspondence with the bankruptcy attorney, and will file an appropriate motion to substitute
the Trustee as Plaintiff if appropriate and necessary in the future.


                                                 47
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 51 of 128 PageID #:7116



       315.    Only Navistar authorized technicians could work on the Engine’s defective

emissions system. There were not enough technicians to repair the Defect, and a shortage of

emissions systems parts to repair the Defect.

       316.    Had Mr. Butler known of the Defect, he would not have purchased the Truck or

would have paid less for it.

       317.    Mr. Butler has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Plaintiff Butler seeks

recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       318.    Mr. Butler’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.

                           2. Steven A. Hamilton

       319.    Plaintiff Steven A. Hamilton (“Hamilton”) resides in Buchanan, Tennessee, and is

a citizen of the State of Tennessee.

       320.    Mr. Hamilton provided commercial trucking services within Tennessee and

throughout the United States.

       321.    Mr. Hamilton purchased an International ProStar on July 8, 2011, from Tri-State

International in Murray, Kentucky, equipped with the 13-liter MaxxForce diesel engine

manufactured by Navistar.

                                                48
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 52 of 128 PageID #:7117



        322.    At all relevant times, the Truck and/or the MaxxForce Engine was covered by a

Navistar warranty.

        323.    Mr. Hamilton complied with all of his obligations under the Navistar warranty.

        324.    The MaxxForce Engine in Mr. Hamilton’s vehicle failed on numerous occasions

due to the Defect. These failures included recurring performance and reliability problems

stemming from the EGR strategy and from high soot and high temperatures related to the Defect.

        325.    Due to failure of the Engine, the Truck broke down in a circumstance and location

that put the driver and the public at risk.

        326.    Within the express warranty period, Mr. Hamilton’s vehicle was brought to an

authorized Navistar repair facility for repair or replacement. Navistar refused to repair the engine

or initiate a responsive effort to repair the engine consistent with its obligation. Navistar failed

to provide the promised warranty benefits for Mr. Hamilton’s vehicle despite Mr. Hamilton

continuing demand to do so and notwithstanding the earnest need for repairs, the same within the

warranty’s time and mileage eligibility.

        327.    Despite Mr. Hamilton undertaking some repairs and an increased effort to monitor

and maintain the Defective Engine by Navistar dealerships, the engine continued to chronically

malfunction and Mr. Hamilton repeatedly was requested to bring the malfunctioning vehicle to

an authorized Navistar dealership. At all relevant times, Navistar refused to perform an

adequate, suitable or capable repair and/or refused to provide repair services of any sort or type.

        328.    Despite knowing that Mr. Hamilton and the members of the Class had bought

ProStar vehicles outfitted with defective Engines that failed to perform wholly, or in substantial

part, Navistar responded by authorizing minor recalibrations, adjustments and replacement of

isolated components that Navistar knew would not repair the engine or its related components.



                                                  49
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 53 of 128 PageID #:7118



Diesel technicians working on Mr. Hamilton’s vehicle at authorized Navistar dealerships have

repeatedly acknowledged the high and unusual volume of problems inherent in the defective

Engines.

         329.   Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engine in Mr. Hamilton’s vehicle continued to fail due to the Defect.

         330.   Neither Navistar, nor any of its dealers or representatives, informed Mr. Hamilton

that the Engines were defective, or of Navistar’s misrepresentations and omissions associated

with the Defect. To the contrary, Navistar representatives told Mr. Hamilton that the MaxxForce

Engine did not have the Defect.

         331.   Mr. Hamilton has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Plaintiff seeks

recovery of all actual damages (including direct, incidental, and consequential damages),

including:

                a.     Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

                b.     Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

         332.   Had Mr. Hamilton been notified of the Defect, he would not have purchased the

Truck.

         333.   Mr. Hamilton’s experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engines.




                                                50
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 54 of 128 PageID #:7119



 xvii. Texas entities

                           1. Stephen Slough

       334.     Plaintiff Stephen Slough (“Slough”) is a resident of Commerce, Texas, and a

citizen of the State of Texas. Mr. Slough has been in the trucking industry for 44 years.

       335.     Mr. Slough purchased a 2012 used ProStar MaxxForce 13 Liter Engine from

Used Truck Center Southwest International in Dallas, Texas.

       336.     The Truck and/or the MaxxForce Engine was covered by the Navistar warranty

when Mr. Slough purchased the vehicle, and Mr. Slough complied with all warranty

requirements.

       337.     The MaxxForce Engine in Mr. Slough’s Truck failed on numerous occasions due

to the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.

       338.     Despite attempts at repair or replacement by an authorized Navistar repair facility,

the MaxxForce Engine in Mr. Slough’s Truck continued to fail due to the Defect.

       339.     Neither Navistar, nor the dealership which sold Mr. Slough the Truck, informed

Mr. Slough that the Engine was defective, or of Navistar’s misrepresentations and omissions

associated with the Defect.

       340.     Had Mr. Slough been notified of the Defect, he would not have purchased the

Truck, or it would have paid less for it.

       341.     Mr. Slough suffered ascertainable losses as a result of Navistar’s

misrepresentations and omissions associated with the Defect. Mr. Slough seeks recovery of all

actual damages (including direct, incidental, and consequential damages), including:




                                                 51
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 55 of 128 PageID #:7120



                a.      Payment of a higher price at the point of purchase or lease than would

                        have prevailed in the market had the true nature of the Trucks been

                        known.

                b.      Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

        342.    Mr. Slough’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.

xviii. Washington entities

                            1. Charles Keplinger

        343.    Plaintiff Charles Keplinger (“Keplinger”) is a citizen and a resident of the State of

Illinois and resides in Peoria, Illinois.

        344.    In 2012, Mr. Keplinger purchased a 2012 MaxxForce 13 Liter Engine from Husky

International in Tukwila, Washington.

        345.    Mr. Keplinger’s Truck and/or the MaxxForce Engine was covered by a Navistar

warranty.

        346.    Mr. Keplinger complied with all of its obligations under the Navistar warranty.

        347.    The MaxxForce Engine in Mr. Keplinger’s vehicle failed on numerous occasions

due to the Defect.

        348.    Due to failure of the Engine, Mr. Keplinger’s vehicle broke down in

circumstances and locations that put the driver and the public at risk.

        349.    Within the express warranty period, Mr. Keplinger’s Truck was brought to

authorized Navistar repair facilities for repair or replacement of its EGR Only systems and

emissions systems.



                                                 52
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 56 of 128 PageID #:7121



       350.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engine in Plaintiff’s vehicle continued to fail due to the Defect.

       351.    Neither Navistar, nor any of its dealers or representatives, informed Plaintiff that

the Engines were defective, or of Navistar’s misrepresentations and omissions associated with

the Defect.

       352.    Finally, after the Truck could not be repaired for a year, Mr. Keplinger sold the

Truck for far below what he paid for it, taking a loss on his investment.

       353.    Mr. Keplinger has suffered ascertainable losses as a result of the Navistar

Defendants’ misrepresentations and omissions associated with the Defect. Mr. Keplinger seeks

recovery of all actual damages (including direct, incidental, and consequential damages),

including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       354.    Had Mr. Keplinger been told of the Defect, he would not have purchased the

Truck or it would have paid less for it.

       355.    Mr. Keplinger’s experience mirrors that of thousands of other owners and lessees

of Trucks with the defective Engines.




                                                53
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 57 of 128 PageID #:7122



 xix. Wisconsin entities

                            1. G&G Specialized Carriers LLC

          356.   Plaintiff G&G Specialized Carriers LLC (“G&G”) is a Wisconsin limited liability

company with its principal place of business located at S82 W19480 Apollo Drive, Muskego,

Wisconsin, that conducts business within and outside of Wisconsin.

          357.   On or about November 2012, G&G purchased a new International LoneStar

Truck with a MaxxForce 13 Engine, which it used in the operation of its business. Plaintiff

purchased the vehicle in Wisconsin.

          358.   At all relevant times, the Truck and/or the MaxxForce Engine was covered by a

Navistar warranty.

          359.   G&G complied with all of its obligations under the Navistar warranty.

          360.   The MaxxForce Engine in G&G’s vehicle failed on numerous occasions due to

the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.

          361.   Due to failure of the Engine, the Truck broke down in circumstances and

locations that put the driver and the public at risk.

          362.   Within the express warranty period, G&G’s vehicle was brought to an authorized

Navistar repair facility for repair or replacement.

          363.   Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engine in G&G’s vehicle continued to fail due to the Defect.

          364.   Neither Navistar, nor any of its dealers or representatives, informed G&G that the

Engines were defective, or of Navistar’s misrepresentations and omissions associated with the

Defect.



                                                  54
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 58 of 128 PageID #:7123



       365.    Had G&G been notified of the Defect, it would not have purchased the Truck, or

it would have paid less for it.

       366.    G&G has suffered ascertainable losses as a result of the Navistar Defendants’

misrepresentations and omissions associated with the Defect. G&G seeks recovery of all actual

damages (including direct, incidental, and consequential damages), including:

               a.       Payment of a higher price at the point of purchase or lease than would

                        have prevailed in the market had the true nature of the Trucks been

                        known.

               b.       Loss of resale value because a defective Truck cannot be sold for the same

                        price as a comparable non-defective truck.

       367.    G&G’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.

                           2. Michael Jackson, Sr.

       368.    Plaintiff Michael Jackson, Sr. (“Jackson”) is a resident of Milwaukee, Wisconsin,

and a citizen of the State of Wisconsin.

       369.    Mr. Jackson purchased a Navistar International ProStar Truck with a MaxxForce

13 Engine, which he used in the operation of his business. He purchased the Truck from a

Freightliner dealership in Grand Rapids, Michigan.

       370.    At all relevant times, the Truck and/or the MaxxForce Engine was covered by the

Navistar warranty.

       371.    The MaxxForce Engine in Mr. Jackson’s Truck failed on numerous occasions due

to the Defect. These failures included numerous operational warnings and breakdowns

necessitating repair.



                                                55
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 59 of 128 PageID #:7124



       372.    Within the express warranty period, Mr. Jackson brought his Truck to an

authorized Navistar repair facility for repair or replacement.

       373.    Despite attempts at repair or replacement by the authorized Navistar repair

facility, the MaxxForce Engines in Mr. Jackson’s Truck continued to fail due to the Defect.

       374.    Neither Navistar, nor any of its dealers or representatives, informed Mr. Jackson

that the Engines were defective, or of Navistar’s misrepresentations and omissions associated

with the Defect.

       375.    Had Mr. Jackson been notified of the Defect, he would not have purchased the

Truck, or he would have paid less for it.

       376.    Mr. Jackson suffered ascertainable losses as a result of Navistar’s

misrepresentations and omissions associated with the Defect. Mr. Jackson seeks recovery of all

actual damages (including direct, incidental, and consequential damages), including:

               a.      Payment of a higher price at the point of purchase or lease than would

                       have prevailed in the market had the true nature of the Trucks been

                       known.

               b.      Loss of resale value because a defective Truck cannot be sold for the same

                       price as a comparable non-defective truck.

       377.    Mr. Jackson’s experience mirrors that of thousands of other owners and lessees of

Trucks with the defective Engines.

B.     Defendants

       378.    Defendant Navistar International Corporation is a parent company whose

subsidiary Navistar, Inc. produces, among other things, heavy-duty commercial trucks.




                                                 56
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 60 of 128 PageID #:7125



       379.    Defendant Navistar, Inc. is a wholly-owned subsidiary of Navistar International

Corporation. Navistar, Inc. manufactures International brand heavy-duty commercial trucks and

MaxxForce brand diesel engines.

       380.    Navistar International Corporation and Navistar, Inc. are corporations organized

under the laws of the State of Delaware. Both Navistar Defendants have the same principal

place of business: 2701 Navistar Drive, Lisle, Illinois 60532.

       381.    Navistar, Inc. is an alter ego and/or agent of Navistar International Corporation.

As such, they will be referred to as “Navistar” or “the Navistar Defendants” throughout this

complaint.

    i. Defendant Navistar, Inc. is an Alter Ego for Defendant Navistar International
       Corporation, and the Two Companies Have Abused the Corporate Form

                            1. Defendant Navistar International Corporation has financial
                               interest, ownership and control over Defendant Navistar, Inc.

       382.    Defendant Navistar, Inc. has claimed that it is a wholly-owned subsidiary of a

“holding” company, Defendant Navistar International Corporation.

       383.    Defendant Navistar, Inc.’s income is reported on a consolidated return with

Defendant Navistar International Corporation to the SEC and other entities, presumably the

Internal Revenue Service.

       384.    Defendant Navistar, Inc.’s income is funneled directly to Defendant Navistar

International Corporation as income from a subsidiary.

       385.    $8.6 billion of Navistar International Corporation’s $11.5 billion net sales

worldwide in 2009 was derived from the North American truck and engines market. “Heavy

duty vehicles,” including Class 7 and 8 vehicles and those at issue here, comprise a substantial

majority of Navistar International Corporation’s truck and engine revenue. For example, in



                                                57
    Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 61 of 128 PageID #:7126



2009, Navistar, Inc. delivered 181,800 units in the North American truck market, of which

119,400 were Class 8 trucks, representing a 32% retail delivery market share.

         386.   The financial benefit of Defendant Navistar, Inc.’s actions accrues solely to the

shareholders of Defendant Navistar International Corporation, and the NIC Board “establishes

broad corporate policies, sets strategic direction and oversees management, which is responsible

for [Defendant Navistar International Corporation’s] day-to-day operations.”

         387.   Thus, Defendant Navistar International Corporation has financial interest,

ownership and control over Defendant Navistar, Inc.9

                           2. There is such unity between the two corporations that the
                              separateness of the two corporations has ceased.

         388.   Navistar International Corporation and Navistar, Inc. share common officers and

common offices.

         389.   Defendant Navistar International Corporation’s most recent quarterly report, filed

with the SEC on September 6, 2017, states that Navistar’s principal operating entities are

Defendant Navistar, Inc. and Navistar Financial.

         390.   Navistar International Corporation is operated by Navistar, Inc. employees.

According to pleadings in a separate litigation, as well as deposition testimony from this case,

Defendant Navistar International Corporation has “no operational employees,” including any

management employees, but is instead operated by its subsidiary employees.

         391.   Based on Navistar International Corporation’s public statements and official

filings with the U.S. Securities and Exchange Commission (“SEC”), all or most of the officers of

9
 Navistar, Inc., an Illinois corporation, was organized in 1988, while Navistar International
Corporation, the parent company, was organized in Delaware in 1993, according to Navistar’s
own website. Navistar, Inc. appears to have acquired or absorbed several companies in existence
prior to Navistar, Inc., including International Truck and Engine Corporation.



                                                 58
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 62 of 128 PageID #:7127



Navistar International Corporation also hold positions as officers and/or directors of Navistar,

Inc., and Navistar International Corporation has at times claimed that it has no operational

employees, and has had only one “employee”: the CEO, who is also the CEO of Navistar, Inc.

       392.    The “officers” of Defendant Navistar International Corporation comprise the

same officers of Defendant Navistar, Inc. According to pleadings in a separate litigation,

Defendant Navistar International Corporation’s only officers are also officers of Defendant

Navistar, Inc., and share the same titles.

       393.    Navistar International Corporation’s investor relations department—dealing with

Navistar International Corporation’s shareholders, market analysts, and the media—is staffed

solely by Navistar, Inc. employees.

       394.    Even Defendant Navistar, Inc.’s own employees, both former and current, do not

know the difference between the two companies. In a separate litigation, Navistar International

Corporation and Defendant Navistar, Inc. produced a “common” corporate representative for

deposition. During that deposition, the vice-president of customer support for Defendant

Navistar, Inc., testified that “if the employees of [Navistar] don’t [know the distinction and the

difference between Navistar International Corporation and Navistar, Inc.], I wouldn’t expect the

customers to….” The corporate representative further testified that the subsidiary’s officers

speak on behalf of the parent company, although he does not understand under what authority

they do so.

       395.    In a separate litigation, one of Navistar, Inc.’s authorized dealers testified that he

didn’t understand the difference between the two companies and he wouldn’t expect customers

to know the difference.




                                                 59
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 63 of 128 PageID #:7128



       396.      Navistar, Inc. and its financial activities—manufacturing engines and trucks and

selling those through its “Dealer Network”—are solely for the benefit of Navistar International

Corporation.

       397.      Navistar International Corporation’s most recent quarterly reports show that the

majority of Defendant Navistar International Corporation’s gross revenues come from Defendant

Navistar, Inc.

       398.      When Navistar International Corporation’s “officers” discuss sales of trucks to

customers on earnings calls, in press releases, and in analyst presentations—sales presumably

made by Navistar, Inc.—they represent those sales as “our engine volumes” and “our trucks and

parts business.”

       399.      However, the “loss” [or presumably gain] that the shareholders of Defendant

Navistar International Corporation have is directly related, and is almost solely created, by the

subsidiary Defendant Navistar, Inc.

       400.      Navistar International Corporation and Navistar, Inc. act in complete cooperation

with each other and with knowledge of the other’s actions when they deliver information to the

public. For example, the “navistar.com” website—including information from and about

Navistar International Corporation—contains information regarding both truck sales and sales of

shares to investors.

                            3. Holding only Defendant Navistar, Inc. or Defendant Navistar
                               International Corporation liable—without the other—would
                               result in grave injustice to Plaintiffs and the Class.

       401.      On information and belief, one or the other of the Defendants may be

inadequately capitalized.

       402.      Clearly, the corporate form utilized by Defendants here is a sham to perpetrate a

fraud. This is a shell game where common officers of the parent and subsidiary make

                                                 60
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 64 of 128 PageID #:7129



presentations to analysts and investors in order to gain media/customer attention, but—when

customers or investors attempt to hold the parent company accountable for those very statements

and the direct benefit the parent company and its shareholders obtained from those sales—the

parent company points to the subsidiary, which now has inadequate capital alone to withstand

the warranty and other obligations that were the direct result of the fraud to begin with.

        403.     Defendants’ combined failure to fully and completely disclose to their

shareholders, investors, dealers, and customers (i) the extent of the problems they knew they

were experiencing with the EGR Only System; (ii) the resulting defects to the equipment being

sold to the public; and (iii) their escalating inability to correct those defects, while assuring the

public and their customers that the equipment sold was of a high quality and any problems had

been and were being solved, is actionable actual fraud, common law fraud, and fraud by

nondisclosure.

                              III.    JURISDICTION AND VENUE

        404.     This Court has original subject matter jurisdiction over this Class Action pursuant

to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2). Plaintiffs are citizens of

Alabama, Arkansas, California, Connecticut, Florida, Idaho, Illinois, Indiana, Kentucky,

Massachusetts, New Jersey, North Carolina, Oregon, Pennsylvania, South Carolina, South

Dakota, Tennessee, Texas, and Wisconsin. Navistar International Corporation and Navistar, Inc.

are corporations organized under the laws of Delaware, with their principal place of business in

Illinois. As a result, the named Plaintiffs, Class members, and Navistar are citizens of different

states within the meaning of 28 U.S.C. §§ 1332(c), 1332(d)(2)(A), and 1332(d)(10).

        405.     On information and belief, the proposed Class exceeds 100 persons. Pursuant to

28 U.S.C. § 1332(d)(6), the aggregate amount of the Class members’ claims substantially



                                                  61
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 65 of 128 PageID #:7130



exceeds $5,000,000, and thus, exceeds the requisite amount in controversy set forth in 28 U.S.C.

§ 1332(d)(2). The “local controversy exception” and “home state exception” to jurisdiction

under 28 U.S.C. § 1332(d)(2), as set forth under 28 U.S.C. § 1332(d)(4)(A) and (B), do not apply

here.

        406.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a), (b) and

(c) on the grounds that all or a substantial portion of the acts giving rise to the violations alleged

herein occurred in this judicial district.

                                     IV.     CHOICE OF LAW

        407.    Navistar is headquartered in Illinois and conducted all relevant business related to

these claims in and from Illinois. As a result, the claims of Plaintiffs and all Class members have

substantial contacts with Illinois, such that application of Illinois law to these claims is neither

arbitrary nor unfair. Illinois has a substantial relationship to the claims of all Class members, and

Illinois has a greater interest than any state in the claims asserted here.

        408.    In the alternative, the law of each state in which Plaintiffs and Class members

purchased or leased the Trucks, and/or in which they reside, can be applied to Plaintiffs and

Class members (as alleged in the separate State Sub-Classes).

                               V.       FACTUAL ALLEGATIONS

A.      Background

        409.    On January 18, 2001, the U.S. Environmental Protection Agency (“EPA”),

pursuant to its authority under The Clean Air Act, 42 U.S.C. §§ 7401, et seq., issued new

emissions standards for heavy-duty highway engines and vehicles. E.P.A. Final Rule, 66 Fed.

Reg. 5002 (Jan. 18, 2001) (codified at 40 C.F.R. pts. 69, 80, and 86), hereinafter, “2010 EPA

Standards.” The Standards required manufacturers to, among other things, reduce nitrogen oxide

(“NOx”) emissions to 0.20 grams per brake horsepower-hour (g/bhp-hr). Compliance would be

                                                  62
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 66 of 128 PageID #:7131



measured on a percent-of-sales basis, i.e., for model years 2007, 2008, and 2009, 50% of a

manufacturer’s heavy-duty engine and vehicle sales had to comply with the new standard, and

for model year 2010, 100% of a manufacturer’s sales had to be compliant. The Standards also

required manufacturers’ emission control systems to be integrated with on-board diagnostic

systems that could detect and identify malfunctions in all monitored emission-related engine

systems.

       410.    Pursuant to Section 7541 of The Clean Air Act, manufacturers are required to

“warrant to the ultimate purchaser and each subsequent purchaser” that the manufacturer’s

vehicles and engines comply with the EPA’s emissions standards.

       411.    Every manufacturer selling commercial trucks in the U.S., except Navistar, chose

to meet the 2010 EPA Standards predominantly with SCR technology, which treated engine

exhaust with a urea-based chemical after it left the engine.

       412.    Navistar’s emissions strategy overstretched the limits of an older technology,

EGR, to try to meet the more stringent EPA emission standards. EGR technology involves first

cooling and then recirculating a portion of an engine's exhaust gas back into the engine cylinders.

The cooled exhaust lowers in-cylinder temperatures during combustion, which reduces the

amount of NOx formed. Navistar’s system cooled the engine exhaust with an EGR cooler. The

cooled exhaust gas was then circulated back into the engine’s air intake through EGR valves.

The EGR Only system, however, created heat and soot that ultimately caused engine damage as

well as damage to other parts of the Navistar vehicle.

       413.    Navistar International Corporation and its officers and directors, including its

then-President and CEO, Daniel Ustian, insisted that Navistar, Inc. use the EGR Only System in

the Engines rather than an SCR system to meet 2010 EPA Standards over objections from



                                                63
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 67 of 128 PageID #:7132



Navistar, Inc. employees. At all relevant times, Navistar International Corporation knew the

MaxxForce Engines were defective. Navistar International Corporation directly interfered with

and exercised control over Navistar, Inc.’s decision making, and Navistar, Inc. was no longer

free to utilize its own expertise. Navistar International Corporation therefore directly

participated in the harm caused to Plaintiffs and the Class.

       414.    Ultimately, Navistar was unable to design the Engines so that they would comply

with the emissions standards set forth by the EPA. Accordingly, in order to sell the Engines,

Navistar had to pay non-conformance penalties (“NCPs”) to the EPA.

B.     Navistar’s Authorized Dealers

       415.    Navistar provides a package of goods and services to buyers of International

Trucks with MaxxForce engines by manufacturing and distributing its products through a

nationwide network of authorized dealers (the “Navistar Network”).

       416.    Authorized dealers in the Navistar Network have actual authority from Navistar to

act as agents for Navistar in connection with the marketing, advertising and selling of

International Trucks with MaxxForce engines.

       417.    Upon information and belief, dealers in the Navistar Network rely almost

exclusively on materials and training received from Navistar when making representations about

International Trucks and MaxxForce engines to their customers.

       418.    Navistar regularly provides authorized dealers with International and MaxxForce

branded literature, signage, and training materials for use in promoting, selling and financing the

purchase or lease of their Trucks to customers.

       419.    In addition, Navistar routinely holds training seminars for authorized dealers in

the Navistar Network.



                                                  64
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 68 of 128 PageID #:7133



       420.    During these seminars, Navistar coaches dealers in the Navistar Network and their

sales staff on the best ways to sell International Trucks to customers, including providing

detailed comparisons of competing manufacturers’ products and outlining the specific

information dealers should emphasize when pursuing a sale.

       421.    In areas where they lack knowledge, dealers in the Navistar Network are

encouraged to visit the “navistar.com” website for additional information regarding both

Defendants.

       422.    Potential customers are also encouraged to visit the “navistar.com” website when

seeking information about International Trucks and the MaxxForce engine.

       423.    The “navistar.com” website contains informational materials and statements to aid

dealers and induce the customer to purchase or lease Navistar products.

       424.    In addition, Navistar furnishes the actual specifications of each Truck, including

fuel efficiency information, rather than relying on the dealers to generate those details for

customers interested in purchasing International Trucks.

       425.    Upon information and belief, Navistar provides the above-described training and

information with the intention that the dealers in the Navistar Network rely almost exclusively on

information provided by Navistar when making representations to potential customers and

inducing customers to purchase or lease International Trucks with MaxxForce engines.

       426.    Upon information and belief, in exercise of the authority granted to them by and

at the direction of Navistar, authorized dealers relied upon such training and information when

they marketed and sold the Trucks to Class members, including in the course of making the

misrepresentations and omissions associated with the Defect, as detailed herein.




                                                 65
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 69 of 128 PageID #:7134



C.     The Navistar Defendants Concealed the Defect.

       427.    Navistar made numerous, repeated false public statements that its engines would

meet the 2010 EPA Standards, that the EGR Only System was a “proven technology” that would

provide a “no-hassle emissions solution,” that the Engines would be just as reliable and durable

as its earlier engines, and that Trucks equipped with the EGR Only System would have a “much

higher residual value” on the used truck market than trucks equipped with SCR.

       428.    At the same time Navistar was making these false public statements, its officers

were outspoken critics of SCR. For example, Jim Hebe, Senior Vice President of North

American Sales Operations frequently criticized competitors’ SCR offering, and was quoted as

saying SCR “could be the biggest false-start in trucking history.” Dee Kapur, President of the

Truck Group, called SCR a “marooned technology” that would ultimately be abandoned by all

manufacturers in favor of EGR Only.

D.     The Navistar Defendants Knew About the Defect at Least as Early as 2004.

       429.    Navistar knew that stretching the limits of an EGR system was a flawed strategy

at least as early as 2004, when Navistar’s 6.0-liter diesel engines were used in various 2004

Model Year Ford vehicles. Ford faced an unprecedented number of complaints with Navistar’s

6.0-liter diesel engine, leading to Ford suing Navistar, Inc. for supplying this defective engine.

These problems persisted throughout the production life of those engines. Navistar’s next diesel

engine produced for Ford, the 6.4-liter engine, also had an EGR system, and also was plagued

with problems throughout its production life in model years 2008 through 2010, leading Ford to

begin producing its own diesel engines after Model Year 2010, rather than having them supplied

by Navistar. For Model Year 2010, Ford went to an SCR system.

       430.    Shockingly, despite seeing first-hand the problems with its EGR system from

2004 through 2010, and despite losing Ford as a customer for its EGR-based diesel engines,

                                                 66
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 70 of 128 PageID #:7135



Navistar continued stretching the limits of EGR-based engines and selling them to its customers,

including the MaxxForce Engines at issue here.

       431.    In addition, according to industry standards, heavy-duty commercial truck engines

are extensively tested for years before public distribution.

       432.    Manufacturers of heavy-duty commercial truck engines run the engines in

controlled conditions for thousands of hours in order to simulate actual driving conditions.

       433.    As a result of this extensive testing, manufacturers obtain huge amounts of data

regarding problems associated with engine performance.

       434.    While Navistar’s testing of the Engines was below industry standards, its testing

still accurately predicted the exact types of problems that would occur with 13-liter MaxxForce

engines.

       435.    A complaint filed on October 10, 2013 against Navistar International Corporation

demonstrates that Navistar was aware of the Defect and the negative results that resulted from its

tests of the Engine’s design. The complaint alleged securities violations10 and listed several

“Confidential Witnesses” (“CWs”), many of whom discussed problems with the EGR Only

System that were made known to the Navistar Defendants.11 For example:

               a.      CW2, identified in the complaint as a former “Chief Engineer for the

                       Engine Group on several Navistar truck and engine launches,” noted

                       problems with, and expressed concerns about, the EGR Only System, and


10
  Construction Workers Pension Trust Fund – Lake County and Vicinity v. Navistar Int’l Corp.,
Civ. No. 1:13-cv-2111 (N.D. Ill.), Docket Entry 66.
11
  The Construction Workers Pension Trust Fund complaint does not differentiate between
Navistar International Corporation and Navistar, Inc. with respect to the employment of the
confidential witnesses.



                                                 67
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 71 of 128 PageID #:7136



                 presented these concerns to Navistar International Corporation’s then-

                 President and CEO, Daniel Ustian.

           b.    CW3, identified in the complaint as “a project development team lead for

                 Navistar in its Fort Wayne, Indiana facility,” claims to have been asked to

                 assist in developing a fallback SCR solution in case the EGR solution was

                 unsuccessful. However, Navistar Inc. executives issued an order to cease

                 and desist development of the SCR backup plan.

           c.    CW5, identified in the complaint as a former “Navistar . . . Chief

                 Engineer,” allegedly told his supervisors that the EGR Only System was

                 not achievable given fuel economy and performance parameters; the stage

                 of EGR development at the time; and that the entire engineering

                 community was saying that the physics of EGR was not possible.

           d.    CW8, identified in the complaint as a “Project Manager and Senior Project

                 Manager at Navistar from 1997 through 2007,” noted problems with a

                 diesel particulate filter in the EGR engines that would “stop up and shut

                 down the engine as more exhaust flowed through the engine.” This

                 increase in exhaust gas recirculation also lowered fuel economy, decreased

                 durability, and increased cooling demands on the engine.

           e.    CW12, identified in the complaint as “Navistar’s Senior Vice President,

                 North American Sales Operations,” claims that Mr. Ustian told him

                 directly not to discuss an alternate solution to the EGR Only System or he

                 would be fired.




                                          68
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 72 of 128 PageID #:7137



               f.     CW13, identified in the complaint as a “Navistar” employee from July

                      2008 to April 2013 and holding various Vice President and Manager roles

                      throughout that time period, claims that “[b]y mid-2011, the EGR solution

                      engines were experiencing significant warranty issues.” Mr. Ustian and

                      other management had access to these reports detailing the warranty

                      issues.

               g.     CW16, identified in the complaint as a “Navistar” employee from 2007

                      until 2012, claims that it became apparent in 2011 that Navistar was

                      experiencing an increase in failure of components of the Engines. The

                      increase in failures was linked to an increase in exhaust gas flowing

                      through the engine, and the resulting soot buildup.

               h.     CW18, identified as a “Navistar” employee since July 2001, stated that the

                      warranty problem was initially believed to be related to the EGR valve.

                      However, even after the EGR valve’s fix, warranty issues persisted

                      through 2012, allegedly as a result of failure of the EGR cooler.

       436.    Accordingly, Navistar knew the MaxxForce Engines were defective before the

first Truck equipped with a MaxxForce Engine was ever sold. Nonetheless, Navistar failed to

disclose the problems with the MaxxForce Engines.

E.     Navistar’s Representations Regarding the MaxxForce Engines

       437.    Despite Navistar’s knowledge of the Defect, it failed to inform Plaintiffs and the

Class of the Defect, and it represented that the MaxxForce Engines: were free of defects, were fit

for heavy-duty trucking, and that any problems experienced with the Engines would be repaired

by an authorized Navistar service center.



                                                69
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 73 of 128 PageID #:7138



       438.    Navistar press releases regarding the MaxxForce Engines quoted Ramin

Younessi, group vice president of product development and business strategy, as stating that the

MaxxForce Engines were “some of the cleanest and most energy-efficient diesel engines ever

produced.”

       439.    Navistar press releases also quoted Jim Hebe as stating that the MaxxForce 15

engine with EGR Only “gives customers the ultimate combination in durability and power.”

       440.    Navistar press releases represented that the MaxxForce EGR Only Engines were a

“no-hassle, business-as-usual solution that will deliver lower total operating costs for

customers.” The press releases also stated that prior to launching sales of Navistar vehicles with

EGR Only solutions, Navistar test vehicles had “logged millions of driving miles in real-world

conditions.”

       441.    Navistar marketing materials state that “MaxxForce Engines deliver: Reliability;

Durability; Power; Performance; [and] Fuel Economy” and that the Engines are a “no-hassle”

solution that “eliminate the hassle of … additional maintenance ….”

       442.    Navistar also made a number of public statements regarding the lower cost of

ownership and superior fuel economy of the Engines, when compared to other engines equipped

with an SCR system. Those statements include, but are not limited to, the following:

               a.      At a conference call for investors, analysts, and media representatives on

                       December 22, 2010, Ustian stated, “The fuel economy of [the MaxxForce

                       13-liter engine] will be better and there will be no change in the heat

                       rejection at the same time, so this product will be even better.”

               b.      At a conference call for investors, analysts, and media representatives on

                       January 25, 2011, then-North America Truck Group President Jack Allen



                                                 70
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 74 of 128 PageID #:7139



                      stated, “Well, the facts are now out, our products are out there and they’re

                      delivering actually a little bit better than what we said on fuel economy,

                      durability, the whole thing…The MaxxForce 7 is doing phenomenal.

                      We’re seeing 9% better fuel economy than the prior model. The

                      MaxxForce 13, as I’ve said the fuel economy is at parity or better than

                      anything in the market and we’ll be applying for our 0.2 certification here

                      in the next couple of months.”

              c.      In a Transport Topics article published on July 29, 2010 and a Fleet

                      Owner article published on July 20, 2010, representatives of Navistar

                      were quoted making claims about the Engines’ “fluid economy” saying

                      “The test results were clear. In the comparison of fluid economy, the

                      International ProStar+ with MaxxForce 13 Liter consistently outperformed

                      the competing trucks 1% to 2.5%.”

              d.      In a Fleet Owner article published on July 20, 2010, Jim Hebe

                      was quoted as saying “If liquid urea SCR trucks can’t compete on fluid

                      economy, then why would customers want to deal with the cost and hassle

                      of adding and maintaining after-treatment equipment, finding and filling

                      up with liquid urea and retraining technicians?”

       443.   Navistar also made a number of public statements regarding Truck reliability,

maintenance and repairs. Those statements include, but are not limited to, the following:

              a.      At a conference call for investors, analysts, and media representatives on

                      March 9, 2011, Ustian stated, “Since we were the only ones out there,

                      there is a lot coming at us with oh, this can’t work. And of course, now



                                               71
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 75 of 128 PageID #:7140



                 were out in the marketplace, and that’s over. That argument’s over.

                 We’re out there in the marketplace. We’re exceeding what we had

                 committed to in terms of performance and fuel economy and all that. So

                 that’s over.”

           b.    At a conference call for investors, analysts, and media representatives on

                 June 7, 2011, Ustian stated, “We haven’t heard any signs of—any even

                 discussion on it, other than the benefits that we get from EGRs, lower

                 weights, and not having to deal with urea. But as far as any discussion on

                 SCR versus EGR, those things were passed a long time ago.”

           c.    At a conference call for investors, analysts, and media representatives on

                 September 7, 2011, then-CFO Andrew Cederoth stated, “This technology

                 is proving extremely viable providing fuel economy and performance on

                 par with the best SCR competitors….As we develop 0.20g NOx capability

                 our goal of continuing to improve performance and fuel economy at this

                 emissions level is being realized.”

           d.    At a conference call for investors, analysts, and media representatives on

                 December 20, 2011, Ustian stated, “We compete against everyone that’s

                 out there on a product, not on a technology. So as long as our product

                 performs as well or better, we can price it not based on cost, but based on

                 vehicle and that’s exactly what we have been able to do.”

           e.    At a conference call for investors, analysts, and media representatives on

                 February 1, 2012, Allen stated, “We are providing equal or better




                                          72
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 76 of 128 PageID #:7141



                       performance than the SCR systems without any of the cost, without the

                       maintenance or without the hassle of SCR.”

       444.    Other representations regarding the MF ProStars’ reliability and outstanding

performance were published to Plaintiffs via the “navistar.com” website.

       445.    Navistar also made representations regarding Engine reliability in Navistar

brochures. For example, Navistar’s “Maintenance Information Guide” stated: (i) that the

MaxxForce Engine had “lower operating costs” and “less hassle”; (ii) that the EGR Only System

resulted in “optimal performance and low cost of ownership”; (iii) that the design of MaxxForce

Engine resulted in “better fuel efficiency,” “more power to the wheels and less soot out the

exhaust,” and “improved combustion”; (iv) that the “Dual-path EGR cooling provides optimized

cooled EGR … [that] allows long-term system performance”; (v) that the MaxxForce Engine had

“Premium Reliability”; (vi) that the “MaxxForce Engine can be counted on to show up for work

every day”; and (vii) that the MaxxForce Engine was “Always Performing.”

       446.    Upon information and belief, Plaintiffs assert that Navistar made representations

regarding reliability, performance, and operating costs to all Plaintiffs and Class members,

directly and/or through its authorized dealer network, with the intention of inducing Plaintiffs

and Class members to purchase or lease the Trucks.

       447.    According to its public filings, Navistar spends close to $30 million per year on

advertising intended to reach customers and induce them to purchase or lease Defendants’

products.

F.     The Defect Is Widespread and Harms the Class.

       448.    Contrary to Navistar’s representations regarding the fitness, durability, and low

operating costs of MaxxForce Engines, Plaintiffs and the Class experienced numerous repeated

breakdowns related to the Defect. Upon information and belief, Navistar was aware of numerous

                                                73
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 77 of 128 PageID #:7142



complaints regarding multiple component failures as a result of the EGR System and the

potential dangers related to it, including Trucks losing power and exhaust leaks into the cab.

Navistar failed to repair the problem despite the Truck operators’ repeated complaints to and

visits at Navistar service centers. These Defect-related breakdowns, and subsequent periods of

attempted repair by Navistar service centers, harmed Plaintiffs and the Class since they were

unable to operate their Trucks extended periods of time.

       449.    Complaints by owners of the Trucks demonstrate how widespread the Defect is,

how the Defect manifests without warning, that Navistar is and has long been aware of the

Defect, and how potentially dangerous the defective condition is. As evidenced by comments

appearing on internet sites such as http://www.thetruckersreport.com/truckingindustryforum/

trucks-eighteen-wheelers/83372-maxxforce-13-a.html, which based upon information and belief

are monitored by Navistar’s agents and/or employees, Navistar has been aware of complaints

about the Defect since at least June 2009.

       450.    The MaxxForce Engine exhaust pipes between the EGR valve and exhaust

manifold can leak, allowing exhaust fumes into the cab. This was the subject of a complaint

filed with the NHSTA on 10/11/2011:

       THERE IS A STAINLESS STEEL EXHAUST FLEX PIPE UNDER THE CAB,
       RIGHT SIDE, JUST AFTER THE REGEN DOSER THAT IS WRAPPED IN A
       FLEX SHEATHING. THE INSIDE OF THE PIPE CRACKS AND WHITE
       EXHAUST FLOWS OUT AND INTO THE CAB WHEN THE ENGINE GOES
       THRU A REGEN CYCLE. WE HAD SEVERAL DRIVERS COMPLAIN OF
       THIS ISSUE, UPON INSPECTION YOU CAN NOT FIND ANY VISIBLE
       CRACKS IN THE EXHAUST. SEVERAL DRIVERS WERE HAVING TO
       PUT THE WINDOWS DOWN IN ORDER TO ELIMINATE THE FUMES
       INSIDE THE CABIN WHILE DRIVING. AFTER SENDING TO THE
       DEALER, THEY ADVISED THAT THE PIPE WAS CRACKED
       INTERNALLY BEHIND THE SHEATHING AND NEEDED TO BE
       REPLACED. THEY ADVISED ON THE PROCEDURE TO CHECK FOR
       THIS SYMPTOM, YOU HAVE TO USE THE ENGINE SOFTWARE AND
       FORCE A REGEN SESSION. ONCE YOU DO THAT, YOU CAN SEE THE


                                                74
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 78 of 128 PageID #:7143



        WHITE FUEL SMOKE AND SMELL RAW FUEL. THIS IS THEN DRAWN
        UP THRU THE HVAC DUCT AND PUTS IT INSIDE THE CABIN. THE
        REPAIR IS A 500.00 PIPE PLUS LABOR FOR A TOTAL OF 800.00. WE
        HAVE 2 OF 5 PROSTAR TRUCKS SO FAR THAT HAVE HAD TO HAVE
        THIS PIPE REPLACED, BOTH DRIVERS WITH SAME COMPLAINT.

        451.    Complaints of exhaust leaks into the cab were very common on the internet as

well. See, e.g., http://www.thetruckersreport.com/truckingindustryforum/trucks-eighteen-

wheelers/126451-maxx-force-13-engines-4.html, accessed May 11, 2015.

        452.    While paying hundreds of millions of dollars in warranty claims to replace

defective parts with equally defective parts on the MaxxForce Engines, Navistar continued to

tout its EGR technology as the future of emissions technology and omitted to disclose that the

Defect was not fixable. Navistar blamed the Defect and warranty claims on manufacturing

problems (which it claimed to have resolved), and continued to portray the Engines as reliable.

        453.    Moreover, these were the same problems experienced with Navistar’s EGR-based

diesel engines since 2004, and Navistar knew it would continue as long as Navistar stayed with

the EGR Only System.

        454.    On information and belief, Plaintiffs allege that Navistar failed to disclose to

customers that coolant consumption caused by the Defect was outside the normal range.

        455.    Commercial trucks are not earning money for their owners and lessees if they are

sitting in the shop for repairs. The owners and lessees suffer not only a loss of use of the truck

itself, but also suffer a loss of use of other tangible property, including, but not limited to, trailers

and other equipment which cannot be used when the truck is out of service. The relationships

between Plaintiffs and their customers were harmed because the Navistar Engines were defective

and prevented Plaintiffs from providing reliable service to their customers. Navistar’s customers

who bought Trucks equipped with the MaxxForce Engines in reliance on Navistar’s

representations were financially devastated by the MaxxForce Engines’ repeated failures.

                                                   75
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 79 of 128 PageID #:7144



         456.   In July 2012, Navistar finally announced that it was abandoning EGR Only and

adopting for the 2013 model year the same SCR technologies that its competitors had been using.

         457.   Even after announcing the switch to SCR technology, Navistar continued to sell

the Engines and omitted to disclose to buyers that resale market demand for vehicles equipped

with those Engines would be weak.

         458.   In August 2012, discussing Navistar’s announcement that beginning in March

2013 it would equip its International Trucks with SCR and abandon EGR Only, the Commercial

Carrier Journal quoted Jack Allen, North American Truck Group President, downplaying any

problems with the EGR Only Engine Trucks:

         Customers should not be hesitant to purchase an EGR-only MaxxForce-equipped
         truck between now and March, Allen said. And likewise, he predicted concerns
         over the resale value of EGR-only MaxxForce-equipped trucks will prove to be
         temporary.

         “The judge didn’t void the trucks,” he said of [an appellate court ruling involving
         whether the EPA followed proper procedures in implementing a certain policy].12
         “Check out the Website about trucks sold under interim rule. Nothing will
         happen. And as for used truck values? We feel the secondary market will be very
         receptive to a truck built without SCR. Our MaxxForce fuel economy is great.
         Our performance is great. And we have more than 50,000 of those engines out
         there.”13

         459.   The trucking industry is now well aware of the problems with the Engines. Not

only were the Trucks equipped with these Engines worth far less at the time of purchase or lease

than they would have been with an engine free from defects, the Trucks have a significantly

diminished value on the resale market compared with competitors’ trucks with similar mileage


12
     Daimler Trucks N. Am. LLC v. EPA, 737 F.3d 95 (D.C. Cir. 2013).
13
  Jack Robers, Navistar devises plan to counter losing EGR gamble, Commercial Carrier
Journal (Aug. 23, 2012), http://www.ccjdigital.com/navistar-devises-plan-to-counter-losing-egr-
gamble.



                                                 76
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 80 of 128 PageID #:7145



and are very difficult to sell. Customers who bought the Trucks with MaxxForce Engines are

now stuck with an unfixable Defect, dwindling or expired warranties, and a greatly diminished

market for resale or trade-in of the used Trucks.

                    VI.     TOLLING OF STATUTES OF LIMITATIONS

       460.    Discovery Rule. Plaintiffs’ claims accrued upon discovery that the EGR

emissions system designed into the MaxxForce Engines was defective in that it led to the

repeated failure of various truck parts, and the Defect could not be repaired. While Navistar

knew, and concealed, the fact that the Engines have a Defect that causes failures, Plaintiffs and

Class members could not and did not discover this fact through reasonable diligent investigation

until after they experienced failures, could reasonably exclude other potential causes of the

failures, learned that warranty “repairs” by Navistar did not solve the problem, and discovered

that the Engines themselves caused the failures.

       461.    Active Concealment Tolling. Any statutes of limitations are tolled by Navistar’s

knowing and active concealment of the fact that the Engines suffered from an inherent design

Defect. Navistar kept Plaintiffs and all Class members ignorant of vital information essential to

the pursuit of their claim, without any fault or lack of diligence on the part of Plaintiffs. The

details of Navistar’s efforts to conceal its above-described unlawful conduct are in its possession,

custody, and control, to the exclusion of Plaintiffs and Class members, and await discovery.

Plaintiffs could not reasonably have discovered the fact that their Engines suffered from an

inherent design Defect that would cause repeated and significant failures.

       462.    Estoppel. Navistar was and is under a continuous duty to disclose to Plaintiffs

and all Class members the true character, quality, and nature of the Engines. At all relevant

times, and continuing to this day, Navistar knowingly, affirmatively, and actively misrepresented



                                                 77
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 81 of 128 PageID #:7146



and concealed the true character, quality, and nature of the Engines. The details of Navistar’s

efforts to conceal its above-described unlawful conduct are in its possession, custody, and

control, to the exclusion of Plaintiffs and Class members, and await discovery. Plaintiffs

reasonably relied upon Navistar’s affirmative misrepresentations and knowing, affirmative,

and/or active concealment. Based on the foregoing, Navistar is estopped from relying upon any

statutes of limitation in defense of this action.

        463.    Equitable Tolling. Navistar took active steps to conceal the fact that it

wrongfully, improperly, illegally, and repeatedly manufactured, marketed, distributed, sold,

and/or leased the Trucks with the defective EGR Only System in the Engines. The details of

Navistar’s efforts to conceal its above-described unlawful conduct are in its possession, custody,

and control, to the exclusion of Plaintiffs and Class members, and await discovery. When

Plaintiffs learned about this material information, they exercised due diligence by thoroughly

investigating the situation, retaining counsel, and pursuing their claims. Navistar fraudulently

concealed its above-described wrongful acts. Should such be necessary, therefore, all applicable

statutes of limitation are tolled under the doctrine of equitable tolling.

                                 VII.    CLASS ALLEGATIONS

        464.    The named Plaintiffs bring this action as a Class Action pursuant to Rules 23(a),

23(b)(1)(A), 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure.

A.      Class Definitions

        465.    The Classes are defined as follows:

                a.      Nationwide Declaratory and/or Injunctive Relief Class

        All persons and entities residing in the United States who own (not for resale) or
        who lease a ProStar, LoneStar, and/or TranStar vehicle equipped with a 2010-
        2013 model year MaxxForce 11- or 13-liter diesel engine who (a) have not
        experienced failures related to the vehicle’s EGR Only System or (b) have
        experienced failures related to the vehicle’s EGR Only System, but have not

                                                    78
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 82 of 128 PageID #:7147



       received service sufficient to prevent EGR Only System-related failures from
       recurring in the future.

               b.     Nationwide Damages Class

       All persons and entities residing in the United States who purchased, not for
       resale, or leased a ProStar, LoneStar, or TranStar vehicle equipped with a 2010-
       2013 model year MaxxForce 11- or 13-liter diesel engine in the United States.

With respect to the class definitions, plaintiffs note that owners and lessees of Trucks
equipped with MaxxForce Engines will be able to determine the engine model year since
it is printed on the emission label on top of the high-pressure charge air cooler.

               c.      Plaintiffs also bring this case on behalf of individuals in certain State

Sub-Classes.

                      (i)    Statutory Sub-Classes. Plaintiffs allege certain causes of action

                             based upon state-specific laws for the following states: Arkansas,

                             California, Florida, Idaho, Illinois, New Jersey, North Carolina,

                             Oregon, Pennsylvania, Tennessee, Washington, and Wisconsin on

                             behalf of:

               All persons and entities residing in the United States who purchased, not for
               resale, or leased a ProStar, LoneStar, and/or TranStar vehicle equipped with a
               2010-2013 model year MaxxForce 11- or 13-Liter diesel engine and reside in that
               specific state.

                      (ii)   Warranty Sub-Classes. Plaintiffs also allege certain causes of

                             action based upon state-specific warranty laws for the following

                             states: Alabama, Arkansas, California, Florida, Georgia, Idaho,

                             Illinois, Indiana, Iowa, Kansas, Kentucky, Maryland, Michigan,

                             New Jersey, North Carolina, Ohio, Oregon, Pennsylvania, South

                             Carolina, Tennessee, Texas, Washington, and Wisconsin on behalf

                             of the following:



                                                 79
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 83 of 128 PageID #:7148



               All persons and entities residing in the United States who purchased, not for
               resale, or leased a ProStar, LoneStar, and/or TranStar vehicle equipped with a
               2010-2013 model year MaxxForce 11- or 13-Liter diesel engine in that specific
               state.

                       (iii)   Declaratory and/or Injunctive Relief Sub-Classes. Plaintiffs

                               also allege seek declaratory and/or injunctive relief based upon

                               state-specific warranty laws of the following states: Alabama,

                               Arkansas, California, Florida, Georgia, Idaho, Illinois, Indiana,

                               Iowa, Kansas, Kentucky, Maryland, Michigan, New Jersey, North

                               Carolina, Ohio, Oregon, Pennsylvania, South Carolina, Tennessee,

                               Texas, Washington, and Wisconsin on behalf of the following:

               All persons and entities residing in the United States who own (not for resale) or
               who lease a ProStar, LoneStar, and/or TranStar vehicle equipped with a 2010-
               2013 model year MaxxForce 11- or 13-liter diesel engine who (a) have not
               experienced failures related to the vehicle’s EGR Only System or (b) have
               experienced failures related to the vehicle’s EGR Only System, but have not
               received service sufficient to prevent EGR Only System-related failures from
               recurring in the future.

       466.    Excluded from the Class definitions are Navistar, its agents, affiliates, and

employees; federal government entities; the Judge(s) assigned to this matter; and any member of

the Judge(s)’ staff and immediate family.

       467.    Claims for personal injury are specifically excluded from the Class definitions.

Further, Plaintiffs do not seek to certify any individualized damages issues of lost profits, such as

loss of a particular client or non-payment for a particular contract.

B.     The Prerequisites of Rule 23(a) Are Satisfied.

       468.    Numerosity. The requirements of Rule 23(a)(1) are satisfied in that there are too

many Class members for joinder of all of them to be practicable. On information and belief,




                                                 80
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 84 of 128 PageID #:7149



each of the proposed Classes includes over five hundred members. The Classes, as defined

above, meet the numerosity requirement.

       469.    Commonality. The claims of the Class members raise numerous common issues

of fact and/or law, thereby satisfying the requirements of Rule 23(a)(2). These common legal

and factual questions—the answers to which will drive resolution of the litigation—may be

determined without the necessity of resolving individualized factual disputes concerning any

Class Member, and include, but are not limited to, the following questions:

               Questions of Fact

               a.     Whether the MaxxForce EGR Only Engines contain the latent defect

                      alleged in this complaint;

               b.     Whether the complained-of defect caused the damages of Plaintiffs and

                      other members of the Class;

               c.     Whether the MaxxForce EGR Only Engines are defectively designed

                      and/or manufactured such that they are not suitable for their intended use;

               d.     Whether the MaxxForce EGR Only Engines suddenly and dangerously

                      fail;

               e.     Whether the latent defect is a necessary cause of the sudden and dangerous

                      failure of the Engines and resulting damages;

               f.     Whether the MaxxForce EGR Only Engines are substantially likely to fail

                      before the end of their intended useful life as a result of their defective

                      design and/or manufacture;

               g.     Whether Navistar had actual or imputed knowledge of the Defect but

                      failed to disclose it to Plaintiffs or the Class;



                                                 81
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 85 of 128 PageID #:7150



           h.    Whether Navistar has a pattern and practice of attributing damages

                 claimed by Plaintiffs and the Class to misuse or improper maintenance or

                 other causes rather than the complained-of Defect;

           i.    Whether Navistar has a pattern and practice of denying Plaintiffs’ and the

                 Class’s claims as “out of warranty” and not due to the complained-of

                 Defect;

           j.    Whether Navistar fraudulently concealed from and/or failed to disclose to

                 Plaintiffs and Class members that MaxxForce Engines were inherently

                 defective and dangerous and prone to fail prematurely;

           k.    Whether Navistar failed to adequately warn Plaintiffs and Class members

                 of the inherent defects and dangers posed by the MaxxForce Engines;

           l.    Whether Navistar dealerships were unable to properly repair the Defect,

                 such that Navistar failed to honor its warranty obligation to properly repair

                 the Engine during the warranty period;

           m.    Whether Plaintiffs and other members of the Class have been damaged

                 and, if so, what is the proper measure of damages; and

           n.    Whether Navistar has acted or refused to act on grounds generally

                 applicable to the Class.

           Questions of Law

           a.    Whether this Court should grant the declaratory relief requested herein;

           b.    Whether EGR system-related failures are covered by the Navistar

                 Standard Warranty, the Navistar Federal Emission System Warranty, and

                 the Navistar California Emission System Warranty;



                                            82
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 86 of 128 PageID #:7151



               c.      Whether limitations on the Navistar warranties are invalid or

                       unenforceable;

               d.      Whether statements contained in the Maintenance Information Guide

                       constitute warranties made by Navistar to Plaintiffs and members of the

                       Class;

               e.      Whether Navistar had duty to disclose to Plaintiffs and all Class members

                       the true character, quality, and nature of the Engines and the Defect;

               f.      Whether Navistar’s conduct in manufacturing, marketing, and selling

                       Engines it knew to be defective, including misrepresentations and/or

                       omissions concerning the defective Engine, constitutes consumer fraud

                       and/or common law fraud;

               g.      Whether Navistar engaged in unfair or deceptive acts or practices when it

                       concealed the inherent defective conditions and dangers of the MaxxForce

                       Engines and failed to warn Plaintiffs and the Class members of same;

               h.      Whether Navistar was unjustly enriched by its conduct; and

               i.      Whether Navistar breached obligations to Plaintiffs and the Class

                       members imposed by express and implied warranties, implied contracts,

                       and other common law doctrines.

       470.    Typicality. The claims of the named Plaintiffs are typical of the unnamed Class

members because they have a common factual source and rest upon the same legal and remedial

theories, thereby satisfying the requirements of Rule 23(a)(3). For example, the named

Plaintiffs’ claims are typical of the claims of the Class because Plaintiffs and all Class members

were injured or damaged by the same wrongful practices in which Navistar engaged, namely the



                                                83
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 87 of 128 PageID #:7152



manufacture and sale of the inherently defective and dangerous MaxxForce Engines, the

intentional concealment of those defects, and Navistar’s inability to repair the Defect.

       471.    Adequacy of Representation. The requirements of Rule 23(a)(4) are satisfied in

that each named Plaintiff has a sufficient stake in the litigation to prosecute its claims vigorously

on behalf of the Class members, and each named Plaintiff’s interests are aligned with those of

the proposed Class. There are no defenses of a unique nature that may be asserted against any

Plaintiff individually, as distinguished from the other members of the Class, and the relief sought

is common to the Class. No Plaintiff has any interest that is in conflict with or is antagonistic to

the interests of the members of the Class, and no Plaintiff has any conflict with any other

member of the Class. Plaintiffs have retained competent counsel experienced in class action

litigation, including product defect and, specifically, vehicle defect class actions, to represent

them and the Class members in this litigation.

       472.    In addition to meeting the requirements specified in Rule 23(a), the Classes are

easily ascertainable through a combination of the use of Navistar’s, purchasers’, and lessees’

records, publication of notice, visual inspection of the Engine and/or its label, and verification by

photograph. Upon information and belief, Navistar, its authorized dealers, and its service centers

keep records of purchasers, service records, and warranty claims data. Where the records of

Navistar, its authorized dealers, and its service centers may be insufficient, provision of notice

can supplement class identification efforts, and purchasers or lessees responding to the class

notice can verify that they are class members through their purchase records, maintenance and

repair records, and a photograph of the emission label, located on top of the high-pressure charge

air cooler, which indicates the model year of the engine.




                                                 84
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 88 of 128 PageID #:7153



C.     The Prerequisites of Rule 23(b)(1) and (b)(2) Are Satisfied.

       473.    Rule 23(b)(1). With respect to Plaintiffs’ claim for declaratory relief, the

requirements of Rule 23(b)(1)(A) are satisfied since individual litigation of the claims of all

Class members would create a risk of inconsistent or varying adjudications that would, in turn,

establish incompatible standards of conduct for Navistar. For example, one court might decide

that the challenged actions are illegal and enjoin them, while another court might decide that

those same actions are not illegal. Similarly, inconsistent rulings regarding the issue of whether

the Defect is present in all MaxxForce Engines equipped with the EGR Only System would

cause Navistar to respond to warranty claims in an inconsistent manner.

       474.    Rule 23(b)(2). Class members who might need future repairs to or replacement of

the Engine seek a declaration that there is an inherent design flaw in the Engine, that the

warranties extend to them, and that they are entitled to final equitable relief, or to specific

performance of the warranty when any future EGR system-related failure occurs. The

requirements of Rule 23(b)(2) are satisfied since the claim for declaratory relief is based upon

Navistar’s systemic policies and practices, making final declaratory relief, with respect to the

class as a whole, appropriate.

       475.    Navistar’s actions are generally applicable to the Class as a whole, and Plaintiffs

seek, among other things, equitable remedies with respect to the class as a whole.

D.     The Prerequisites of Rule 23(b)(3) Are Satisfied.

       476.    Rule 23(b)(3): Predominance. The Rule 23(b)(3) predominance requirement is

satisfied because the common factual and legal issues identified above are sufficiently cohesive

to warrant adjudication by representation and predominate over questions affecting only

individual members of the Class. The central issues in this litigation are the same for all class

members: whether the Engines suffered from an inherent defect when they left the factory,

                                                  85
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 89 of 128 PageID #:7154



whether Navistar knew of the Defect, and the scope and applicability of Navistar’s warranties.

These common issues predominate over any individual issues.

        477.    Rule 23(b)(3): Superiority. The Rule 23(b)(3) superiority requirement is also

satisfied. Class action treatment is superior to other available methods for the fair and efficient

adjudication of this controversy because individual litigation of the claims of all Class members

is economically unfeasible and procedurally impracticable. The expense of individual Class

members prosecuting separate claims is large, and even if every Class Member could afford

individual litigation, the court system would be unduly burdened by individual litigation in such

cases. Individual litigation would also present the potential for varying, inconsistent or

contradictory judgments while magnifying the delay and expense to all parties and to the court

system, thus resulting in multiple trials of the same legal issue and creating the possibility of

repetitious litigation. As a result, it is desirable to concentrate litigation in this forum. Plaintiffs

know of no difficulty to be encountered in the management of this action that would preclude its

maintenance as a class action. Relief concerning Plaintiffs’ rights under the laws herein alleged

and with respect to the Class is proper.

                                   VIII. CAUSES OF ACTION

A.      Claims Brought on Behalf of the Nationwide Class

                                  FIRST CAUSE OF ACTION
              CLAIM FOR DECLARATORY AND/OR INJUNCTIVE RELIEF
                   Asserted on behalf of all Plaintiffs and the Nationwide Class
         or, in the alternative, on behalf of all Plaintiffs and all State Declaratory and/or
                                    Injunctive Relief Sub-Classes

        478.    Plaintiffs incorporate all allegations of fact in all preceding paragraphs as if fully

set forth herein.

        479.    As illustrated in the foregoing allegations, there is an actual controversy between

Navistar and Plaintiffs concerning: (1) whether the Engines have an inherent design Defect that

                                                   86
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 90 of 128 PageID #:7155



causes failures; (2) whether Navistar knew, or should have known, of that design Defect; (3)

whether Navistar knew, or should have known, that the Defect would impact Engine

performance and Truck parts; (4) whether Navistar knew, or should have known, that no amount

of warranty service would cure the Defect; (5) whether Navistar improperly asserted

maintenance, misuse, and other defenses to otherwise valid warranty claims; (6) whether the

limitations in the applicable warranties (i.e., the Navistar Standard Warranty, the Navistar

Federal Emission System Warranty, the Navistar California Emission System Warranty, and the

descriptions and affirmations of fact contained in the Navistar “Maintenance Information

Guide,” each of which are hereto as Exhibits A-C) were drafted solely by Navistar and were non-

negotiable; and (7) whether the time, mileage, or other limitations and disclaimers in Navistar’s

warranties are unconscionable and/or invalid.

       480.    Pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, this Court may

“declare the rights and legal relations of any interested party seeking such declaration, whether

or not further relief is or could be sought,” provided that the declaratory relief requested does not

fall within any of the exemptions set forth in the Act.

       481.    Accordingly, Plaintiffs pray this Court declare that:

                   a. The MaxxForce Engines equipped with the EGR Only System suffer from

                       a design Defect that is material and warrants disclosure since that design

                       Defect leads to repeated, sudden, and accidental failures, which might

                       occur outside the warranty period;

                   b. All members of the Declaratory Relief Class are to be provided the best

                       practicable notice of the Defect, which cost shall be borne by Navistar;




                                                 87
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 91 of 128 PageID #:7156



                   c. Navistar warranted the Engines under the Navistar Standard Warranty, the

                       Navistar Federal Emission System Warranty, and the Navistar California

                       Emission System Warranty. It also warranted the Engines according to

                       descriptions and affirmations of fact contained in the Navistar

                       “Maintenance Information Guide.” Those warranties failed of their

                       essential purpose.

                   d. Because Navistar knew of the Defect when it first manufactured the

                       Engines, any repairs made to remedy EGR system-related failures were

                       insufficient to remediate the Defect known by Navistar to exist.

                       Therefore, any time, mileage or other limitations on the applicable

                       warranties are invalid and unenforceable. Navistar shall provide notice to

                       all persons covered by those warranties of the removal of the time,

                       mileage, and other limitations; and

                   e. Navistar shall re-audit and reassess all prior warranty claims, including

                       claims previously denied in whole or in part, where the denial was based

                       on warranty or on other grounds, of claims regarding EGR system-related

                       failures.

       482.    The declaratory relief requested does not fall within any of the exemptions set

forth in the Declaratory Judgment Act.

       483.    The requested declaratory relief will generate common answers that will resolve

controversies that lie at the heart of this litigation and would make it significantly likely that

Plaintiffs will obtain relief that directly redresses the injury suffered. There is an economy to




                                                  88
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 92 of 128 PageID #:7157



resolving these issues as they have the potential to eliminate the need for continued and repeated

litigation.

                                  SECOND CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY
                    Asserted on behalf of all Plaintiffs and the Nationwide Class
       or, in the alternative, on behalf of all Plaintiffs and all State Warranty Sub-Classes

        484.   Plaintiffs adopt and incorporate herein the allegations set forth above.

        485.   The Navistar Defendants sold Trucks equipped with defective Engines to

Plaintiffs and members of the Class.

        486.   In consideration of and as part of each sale, Navistar warranted that the Trucks

conformed to (1) the Navistar Standard Warranty (attached hereto as Exhibit A); (2) the Navistar

Federal Emission System Warranty (see, e.g., “Engine Operation and Maintenance Manual,”

pp. 7-9, attached hereto as Exhibit B); (3) the Navistar California Emission System Warranty

(see, e.g., “Engine Operation and Maintenance Manual,” pp.10-12); and (4) descriptions and

affirmations of fact that were contained in Navistar’s “Maintenance Information Guide”

(attached hereto as Exhibit C).

        487.   Such warranties formed the basis of the bargain when Plaintiffs purchased or

leased the Navistar Trucks.

        488.   With respect to the emissions-related warranties, such warranties are mandated

and regulated by federal and state law. They cannot be disclaimed.

        489.   Federal law sets forth the minimum requirements for an emissions-related

warranty, but manufacturers can issue one that is more generous than what federal law requires.

        490.   Navistar’s Emissions Warranties go beyond the federal standard by (1) issuing a

federal emissions warranty that warrants against defects in design, in addition to warranting

against defects in materials and workmanship; and (2) warranting nationwide, to all Plaintiffs


                                                89
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 93 of 128 PageID #:7158



and members of the Class, that the Trucks satisfy California’s emissions-related warranty

requirements, which are more rigorous than what is required under federal law.

       491.    In addition to the Standard Warranty, Federal Emission System Warranty, and

California Emissions System Warranty, Navistar issued a “Maintenance Information Guide” that

contained affirmations of fact and descriptions concerning MaxxForce Engines and the EGR

Only System. Those affirmations of fact expressly warranted the following: (i) that the

MaxxForce Engines had “lower operating costs” and “less hassle”; (ii) that the MaxxForce

Engines resulted in “optimal performance and low cost of ownership”; (iii) that the design of

MaxxForce Engines resulted in “better fuel efficiency,” “more power to the wheels and less soot

out the exhaust,” and “improved combustion”; (iv) that the “Dual-path EGR cooling provides

optimized cooled EGR … [that] allows long-term system performance”; (v) that the MaxxForce

Engine had “Premium Reliability”; (vi) that the “MaxxForce Engine can be counted on to show

up for work every day”; and (vii) that the MaxxForce Engine was “Always Performing.”

       492.    It was in this manner that Navistar expressly warranted its Engines—all the while

knowing that those Engines were designed with a material Defect that was present at the time of

sale and lease to Plaintiffs and Class members.

       493.    When manufacturers and merchants such as Navistar sell goods with express

warranties, they are obligated to provide goods that conform to those warranties. As detailed in

the foregoing allegations, Navistar’s Trucks and Engines did not conform to its express

warranties.

       494.    Plaintiffs met all of their obligations under the express warranty. Plaintiffs used

the Engines in a manner consistent with their intended use. When the Defect, which was not

known to Plaintiffs, caused repeated failures in Plaintiffs’ Trucks, Plaintiffs brought their Trucks



                                                  90
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 94 of 128 PageID #:7159



to Navistar service centers for repeated repairs. Plaintiffs have performed each and every duty

required under the terms of the warranties, except as may have been excused or prevented by the

conduct of Navistar or by operation of law in light of Navistar’s unconscionable conduct

described throughout this Complaint.

       495.    Pursuant to the express warranties, Navistar was obligated to pay for or reimburse

Plaintiffs and the Class members for costs incurred in replacing the defective Engines.

       496.    Pursuant to the express warranties, Navistar also was obligated to properly repair

the Defect.

       497.    Navistar breached (and continues to breach) the above-described express

warranties by (i) failing and refusing to conform the Engines to the express warranties, (ii)

failing and refusing to properly repair or replace the defective Engines in Plaintiffs’ and Class

members’ Trucks when Plaintiffs and Class members presented the Trucks for repair, and/or (iii)

purportedly “repairing” the Engines that needed servicing by replacing them with Engines that

contained the same Defect and were equipped with the same EGR Only System.

       498.    Plaintiffs provided Navistar with actual notice of the breach of the express

warranties.

       499.    Navistar had actual knowledge of, and/or received timely notice regarding, the

Defect at issue in this litigation and, notwithstanding such knowledge and notice, failed and

refused to offer an effective remedy.

       500.    Upon information and belief, Navistar has received thousands of complaints and

other notices from customers advising them of the Defect at issue in this litigation.

       501.    Any attempt by Navistar to limit its express warranties in a manner that would

exclude or limit coverage for the Engines with respect to claims based upon the Defect is



                                                 91
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 95 of 128 PageID #:7160



unconscionable since (i) the Defect was present as of the time of sale or lease; (ii) Navistar knew

about the Defect prior to offering the Engines for sale; and (iii) Navistar concealed and did not

disclose the Defect, and did not remedy the Defect prior to sale or lease (or afterward). Any

attempt to limit these warranties to defects in “material and workmanship” in such a way as to

exclude defective design is also unconscionable. Any effort by Navistar to disclaim or otherwise

limit liability for the Defect at issue is, therefore, null and void.

        502.    Accordingly, Plaintiffs and Class members suffered damages caused by

Navistar’s breach of the express warranties and are entitled to recover damages as set forth

herein. Those damages include, but are not limited to, general damages (i.e., the difference at the

time and place of acceptance between the value of the goods accepted and the value they would

have had if they had been as warranted); incidental damages; and consequential damages.

B.      Claims Brought on Behalf of State Sub-Classes

                                  THIRD CAUSE OF ACTION
                            BREACH OF IMPLIED WARRANTY
            Asserted on behalf of all Plaintiffs and all State Warranty Sub-Classes

        503.    Plaintiffs adopt and incorporate herein the allegations set forth above.

        504.    Navistar is and was at all relevant times a merchant with respect to the Engines.

        505.    Navistar was and is in actual or constructive privity with all Plaintiffs and all

Class members.

                a.      Plaintiffs had and continue to have sufficient direct dealings with Navistar

                        and/or its authorized dealers, franchisees, representatives, and agents to

                        establish any required privity of contract. Navistar’s authorized dealers,

                        franchisees, representatives, and agents were not intended to be the

                        ultimate consumers of the Engines and have no rights under the warranty

                        agreements provided with the Engines. The warranty agreements were

                                                   92
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 96 of 128 PageID #:7161



                          designed for and intended to benefit only the ultimate Truck purchasers

                          and lessees, i.e., Plaintiffs and Class members.

               b.         Privity is not required to assert this claim because Plaintiffs and the Class

                          members are intended third-party beneficiaries of contracts between

                          Navistar and its dealers, franchisees, representatives, and agents.

               c.         By extending express written warranties to end-user purchasers and

                          lessees, Navistar brought itself into privity with all Plaintiffs and Class

                          members.

       506.    At all times relevant hereto, applicable law imposed upon Navistar a duty that the

Engines be fit for the ordinary purposes for which Engines are used and that they pass without

objection in the trade under the contract description.

       507.    Navistar has not validly disclaimed, excluded, or modified the implied warranties

or duties described above, and any attempted disclaimer or exclusion of the implied warranties

was and is ineffectual.

       508.    The Engines were defective at the time they left the possession of Navistar, as set

forth above. Navistar knew of this Defect at the time the purchase and lease transactions

occurred. Thus, the Engines, when sold and at all times thereafter, were not in merchantable

condition or quality because they are not fit for their ordinary intended purpose and they do not

pass without objection in the trade under the contract description.

       509.    Plaintiffs and Class members used the Engines in a manner consistent with their

intended use and performed each and every duty required under the terms of the warranties,

except as may have been excused or prevented by the conduct of Navistar or by operation of law

in light of Navistar’s unconscionable conduct.



                                                    93
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 97 of 128 PageID #:7162



          510.   Navistar had actual knowledge of, and received timely notice regarding, the

Defect at issue in this litigation and, notwithstanding such notice, failed and refused to offer an

effective remedy.

          511.   In addition, Navistar received, on information and belief, thousands of complaints

and other notices from customers advising of the Defect associated with the Engines.

          512.   By virtue of the conduct described herein and throughout this Complaint, Navistar

breached the implied warranty of merchantability.

          513.   As a direct and proximate result of Navistar’s breach of warranties, Plaintiffs and

Class members suffered economic damage, including loss attributable to the diminished value of

their Engines, loss of use of the Trucks and other tangible property, as well as the monies spent

and to be spent to repair and/or replace their Engines.

                            FOURTH CAUSE OF ACTION
     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
         Asserted on behalf of all Plaintiffs and all State Warranty Sub-Classes

          514.   Plaintiffs adopt and incorporate herein the allegations set forth above.

          515.   Plaintiffs and Class members entered into agreements to purchase or lease

Engines with Navistar or otherwise were in contractual privity with Navistar as a result of the

express warranties and representations described herein.

          516.   The contracts and warranties were subject to the implied covenant that Navistar

would conduct business with Plaintiffs and Class members in good faith and would deal fairly

with them.

          517.   Navistar breached those implied covenants by failing to disclose that any repair or

replacement of defective parts in Plaintiffs’ and Class members’ Engines, would not cure the

defect.



                                                  94
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 98 of 128 PageID #:7163



       518.    As a direct and proximate result of Navistar’s breach of its implied covenants,

Plaintiffs and Class members have been damaged in an amount to be determined at trial.

                               FIFTH CAUSE OF ACTION
                          NEGLIGENT MISREPRESENTATION
                 Asserted on behalf of all Plaintiffs and all State Sub-Classes

       519.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       520.    Navistar manufactured, distributed, and sold to Class members the Engines that

they knew contained an inherently dangerous or defective condition.

       521.    Navistar continued to manufacture, distribute, and sell to Class members the

Engines after receiving substantial complaints of systematic product failure due to the dangerous

or defective condition.

       522.    Navistar did not disclose this dangerous or defective condition to potential and

actual purchasers and lessees, and the condition was not easily discoverable by them.

       523.    Navistar omitted this information to induce Plaintiffs and Class members to

purchase or lease its Trucks, which were equipped with the defective Engines.

       524.    Navistar made affirmative representations, as detailed in the foregoing

allegations, regarding the Engines’ reliability, performance, and operating costs, with the intent

to induce Plaintiffs and the Class to purchase or lease its Trucks, which were equipped with the

defective Engines.

       525.    Plaintiffs and the Class justifiably relied on Navistar’s omissions and

misrepresentations in that Plaintiffs and the Class paid more for the Engines than they would

have had Navistar disclosed the defective condition and its effect on reliability, performance, and

operating costs, or Plaintiffs and the Class would have purchased or leased different vehicles

altogether.



                                                95
 Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 99 of 128 PageID #:7164



       526.    Plaintiffs and Class members were harmed by Navistar’s misrepresentations

regarding the dangerous and defective condition of the Engines and are entitled to damages as a

result in an amount to be proven at trial.

                               SIXTH CAUSE OF ACTION
                            FRAUDULENT CONCEALMENT
                 Asserted on behalf of all Plaintiffs and all State Sub-Classes

       527.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       528.    Navistar omitted an existing fact about the Engines when it failed to disclose

information regarding the Engines’ dangerous and defective condition.

       529.    The omission is material because the defective condition poses a serious safety

issue to Engines’ owners and to the public.

       530.    The omission rendered Navistar’s representations regarding the Engines false

because the Engines were in fact defective.

       531.    Navistar manufactured, distributed, and sold the Engines despite having

knowledge of their defective and dangerous condition.

       532.    Navistar intended that purchasers and lessees would rely on Navistar’s omissions

regarding safety, reliability, and resale value of the Engines to bolster sales.

       533.    Plaintiffs and Class members were not aware of the defective condition and could

not reasonably have discovered the defective condition.

       534.    Plaintiffs relied on Navistar’s omission in that they paid more for the Engines

than the Engines would have been worth had Navistar disclosed the defective condition, or they

would have purchased or leased different vehicles altogether.

       535.    Plaintiffs had the right to rely on Navistar’s omissions that created the false

impression that the Engines were safe and reliable based on reasonable purchaser and lessee



                                                  96
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 100 of 128 PageID #:7165



expectations that the Engines would not be designed such that they fail under normal conditions

of use or would be substantially certain to fail before the end of their useful life.

       536.    Navistar had an affirmative duty to disclose the defective condition of the Engines

to potential and actual purchasers and lessees because it was in a superior position to know the

true state of the defective Engines. Navistar knew of the defective and dangerous condition and

the condition was not easily discoverable by potential or actual purchasers and lessees. Navistar

breached its duty by failing to disclose the condition.

       537.    Navistar fraudulently concealed the defective condition of the Engines, causing

damages to Plaintiffs.

                              SEVENTH CAUSE OF ACTION
                              FRAUD IN THE INDUCEMENT
                  Asserted on behalf of all Plaintiffs and all State Sub-Classes

       538.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       539.    As detailed in the foregoing allegations, Navistar made false and material

misrepresentations regarding the Engines’ quality, reliability, performance, and operating costs.

       540.    Navistar knew or should have known that these misrepresentations were false

when it made them.

       541.    Navistar intended that purchasers and lessees, including Plaintiffs and Class

members, would rely on Navistar’s misrepresentations regarding quality, reliability,

performance, and operating costs when determining whether to enter into contracts to purchase

or lease the Trucks.

       542.    Plaintiffs and Class members did not know that the misrepresentations were false

and justifiably and reasonably relied on Navistar’s misrepresentations when determining whether

to enter into contracts to purchase or lease the Trucks.



                                                  97
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 101 of 128 PageID #:7166



       543.    Plaintiffs and Class members relied on Navistar’s misrepresentations by entering

into contracts to purchase or lease, and actually purchasing or leasing, the Trucks equipped with

the defective Engines.

       544.    Plaintiffs and Class members would not have entered into contracts to purchase or

lease the defective Engines, or would have paid less to purchase or lease the Trucks, but for the

fraudulent misrepresentations made by Navistar.

       545.    Navistar’s false representations, which fraudulently induced Plaintiffs and Class

members into entering into contracts to purchase or lease the Engines, caused harm to Plaintiffs.

Plaintiffs seek affirmance of the contract with damages, or in the alternative, rescission with

return of the Trucks in exchange for the full purchase or lease price.

                              EIGHTH CAUSE OF ACTION
                                 UNJUST ENRICHMENT
                 Asserted on behalf of all Plaintiffs and all State Sub-Classes

       546.    Plaintiffs adopt and incorporate herein the allegations set forth above, and allege

this cause of action in the alternative to Plaintiffs’ warranty claims.

       547.    Navistar has been unjustly enriched by the sale of vehicles containing the

defective MaxxForce Engines to Plaintiffs and the Class members.

       548.    Plaintiffs and the Class members conferred a benefit on Navistar, but Navistar

failed to disclose its knowledge that Plaintiffs did not receive what they paid for and misled

Plaintiffs and Class members regarding the qualities of the MaxxForce Engines, and the vehicles

containing these Engines, while profiting from this deception.

       549.    Navistar also continues to be unjustly enriched by benefitting from, inter alia, (i)

the saved cost of manufacturing a properly performing and safe EGR System in the Engines, (ii)




                                                  98
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 102 of 128 PageID #:7167



the shifted risk and expense of the defective and dangerous EGR System in the Engines to

Plaintiffs and Class members, and (iii) the return on investment on all above-described amounts.

       550.    It would be inequitable, unconscionable, and unjust to permit Navistar to retain

the benefit of these profits that it unfairly obtained from Plaintiffs and the Class members.

       551.    Plaintiffs and the Class members, having been injured by Navistar’s conduct, are

entitled to restitution or disgorgement of profits as a result of the unjust enrichment of Navistar

to the detriment of Plaintiffs and Class members.

                               NINTH CAUSE OF ACTION
                                       NEGLIGENCE
                 Asserted on behalf of all Plaintiffs and all State Sub-Classes

       552.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       553.    Navistar owed Plaintiffs and the other Class members the duty to design and

manufacture the Engines in such a way as to ensure that the emissions system would not fail and

the Defect would not occur.

       554.    Navistar breached this duty by negligently designing and/or manufacturing the

Engines, including, but not limited to, the negligent design and/or manufacture of the Engines’

EGR system as more fully described in this Complaint.

       555.    As a direct and proximate result of Navistar’s negligence, Plaintiffs and the other

Class members have sustained damages.

C.     Additional Claims Brought Under Arkansas Law

                               TENTH CAUSE OF ACTION
              VIOLATIONS OF ARKANSAS PRODUCTS LIABILITY ACT,
                          ARK. CODE ANN. §§ 16-116-101, et seq.
              Asserted on behalf of C&T Transport and the Arkansas Statutory
                                 and Warranty Sub-Classes

       556.    Plaintiffs adopt and incorporate herein the allegations set forth above.



                                                 99
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 103 of 128 PageID #:7168



       557.    Plaintiff C&T Transport brings this claim on behalf of itself and the Arkansas

Statutory and Warranty Sub-Classes.

       558.    Plaintiff C&T Transport brings this claim on behalf of itself and members of the

Arkansas Sub-Classes.

       559.    The Engines were defectively designed, manufactured, sold, or otherwise placed

in the stream of commerce.

       560.    Navistar is strictly liable in tort for C&T Transport’s and sub-class members’

injuries and damages, and C&T Transport relies upon the doctrine set forth in Restatement,

Second, Torts § 402(a).

       561.    Because of the negligence of the design and manufacture of the Engines, by

which C&T Transport and sub-class members were injured, and the failure of Navistar to warn

C&T Transport and sub-class members of the certain dangers concerning the operation of the

Engines, which were known to Navistar but were unknown to C&T Transport and sub-class

members, Navistar has committed a tort.

       562.    The Engines that caused C&T Transport’s and sub-class members’ injuries were

manufactured by Navistar.

       563.    At all times herein material, Navistar negligently and carelessly did certain acts

and failed to do other things, including, but not limited to, inventing, developing, designing,

researching, manufacturing, building, inspecting, investigating, testing, labeling, instructing, and

negligently and carelessly failing to provide adequate and fair warning of the characteristics,

dangers, and hazards associated with the operation of the Engines to C&T Transport and sub-

class members, and willfully failing to recall or otherwise cure one or more of the defects in the

Engines thereby directly and proximately causing the described injuries.



                                                100
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 104 of 128 PageID #:7169



       564.     The Engines were unsafe for use because they were defective. For example, the

Engines were defective in their design, development, manufacture, and lack of permanent,

accurate, adequate, and fair warning of the characteristics, danger, and hazard to C&T Transport

and sub-class members, and because Navistar failed to recall or otherwise cure one or more

defects in the Engines thereby directly and proximately causing the described injuries.

       565.     Navistar knew or reasonably should have known that the Engines would be

purchased and used without all necessary testing or inspection for defects not readily visible.

       566.     C&T Transport and sub-class members were not aware of those defects at any

time before the incidents and occurrences mentioned in this complaint, or else C&T Transport

and sub-class members were unable, as a practical matter, to cure that defective condition.

       567.     C&T Transport and sub-class members used the products in a foreseeable manner.

       568.     As a proximate result of Navistar’s negligence, C&T Transport and members of

the Arkansas Sub-Classes suffered injuries and damages.

D.     Additional Claims Brought Under California Law

                            ELEVENTH CAUSE OF ACTION
              VIOLATIONS OF CALIFORNIA UNFAIR COMPETITION LAW
                    CAL. 17200BUS. & PROF. CODE §§ 17200, et seq.
                 Asserted on behalf of Vera Transport, Two Star Trucking,
                  and the California Statutory and Warranty Sub-Classes

       569.     Plaintiffs adopt and incorporate herein the allegations set forth above.

       570.     Plaintiff Two Star Trucking brings this claim on behalf of itself and members of

the California Statutory Sub-Class, and Plaintiffs Vera Transport and Two Star Trucking bring

this claim on behalf of themselves and members of the California Warranty Sub-Class.

       571.     Vera, Two Star, and members of the California Sub-Classes are natural persons

and legal entities and, as such, constitute “persons” as defined by Bus. & Prof. Code § 17201.



                                                101
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 105 of 128 PageID #:7170



        572.   By its plain terms, Bus. & Prof. Code § 17200 provides a private right of action

for any person who is injured in his or her business or property by an unfair and/or deceptive act

or practice.

        573.   By the conduct described in detail above and incorporated herein, Navistar

engaged in unfair, unlawful, and fraudulent business practices in violation of Bus. & Prof. Code

§ 17200 et seq.

        574.   Navistar intentionally concealed or failed to disclose that the Engines were

defectively designed and/or manufactured, posed a significant and dangerous risk to the general

public, would suddenly and dangerously fail before the end of their useful life, and were not

suitable for their intended use. These omissions were contrary to Navistar’s representations

regarding the Engines’ reliability, performance, and operating costs.

        575.   The facts regarding the Defect, which were intentionally concealed or not

disclosed by Navistar to Vera, Two Star, and sub-class members, are material facts that a

reasonable person would have considered in deciding whether to purchase or lease (or to pay the

same price for) the Engines. Because such facts were in the exclusive possession of Navistar,

Navistar owed a duty Vera, Two Star, and sub-class members to disclose those facts.

        576.   Navistar intended that Vera, Two Star, and sub-class members rely on Navistar’s

misrepresentations and omissions concerning the defective Engines, so that Vera, Two Star, and

sub-class members would lease or purchase vehicles containing the Engines.

        577.   Vera, Two Star, and sub-class members viewed Navistar’s material

misrepresentations prior to the purchase or lease of their Trucks, and Vera, Two Star, and sub-

class members justifiably acted or relied to their detriment upon those misrepresentations (and




                                               102
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 106 of 128 PageID #:7171



related omissions of fact concerning the Defect), as evidenced by Vera, Two Star, and sub-class

members’ purchase or lease of the defective Engines.

        578.     Had Navistar disclosed all material information regarding the defective Engines to

Vera, Two Star, and sub-class members, they would not have purchased or leased vehicles

containing the Engines or they would have paid less for them.

        579.     Navistar’s unfair, unlawful, and fraudulent business practices have deceived Vera

and Two Star, and those same business practices have deceived or are likely to deceive members

of the consuming public and the members of the California Sub-Classes.

        580.     By engaging in the above-described acts and practices, Navistar has committed

one or more acts of unfair competition within the meaning of Business and Professions Code §

17200, et seq.

        581.     Navistar knowingly sold Vera, Two Star, and sub-class members Engines with

defects that have rendered the Engines essentially unusable for the purposes for which they were

sold.

        582.     The injuries to Vera, Two Star, and sub-class members greatly outweigh any

alleged countervailing benefit to Plaintiffs and the sub-class or to competition under all of the

circumstances. Moreover, in light of Navistar’s exclusive knowledge of the Defects, the injury is

not one the Plaintiffs and sub-class members could have reasonably avoided.

        583.     Navistar’s acts and practices are unlawful because they violate Cal. Code §§

1668, 1709, 1710, and Cal. Commercial Code § 2313.

        584.     As a direct and proximate cause of Navistar’s unfair or deceptive acts or practices,

Vera, Two Star, and members of the California Sub-Classes have suffered actual damages and




                                                 103
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 107 of 128 PageID #:7172



are entitled to recover such damages together with all other relief allowed under Section 17200,

et seq., plus interest, attorneys’ fees and costs of suit.

E.      Additional Claims Brought Under Florida Law

                            TWELFTH CAUSE OF ACTION
 VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
                               ACT, F.S.A. § 501.201, et seq.
  Asserted on behalf of Plaintiffs Edwards, Peninsular, Vera Transport, and the Florida
                           Statutory and Warranty Sub-Classes

        585.    Plaintiffs adopt and incorporate herein the allegations set forth above.

        586.    Plaintiffs Vera, Edwards, and Peninsular bring this claim on behalf of themselves

and members of the Florida Statutory Sub-Class, and Plaintiff Edwards brings this claim on

behalf of himself and members of the Florida Warranty Sub-Class.

        587.    Plaintiffs Edwards, Vera Transport, and Peninsular bring this claim on behalf of

themselves and members of the Florida Sub-Classes.

        588.    The Florida Deceptive and Unfair Trade Practices Act, F.S.A. § 501.201, et seq.,

stipulates that, “[u]nfair methods of competition, unconscionable acts or practices, and unfair or

deceptive acts or practices in the conduct of any trade or commerce are hereby declared

unlawful.”

        589.    By the conduct described in detail above and incorporated herein, Navistar

engaged in unfair or deceptive acts in violation of F.S.A. § 501.204.

        590.    Navistar’s omissions regarding the Defect, and the related representations

regarding the Engines’ reliability, performance and operating costs, are material facts that a

reasonable person would have considered in deciding whether to purchase (or to pay the same

price for) the Engines.

        591.    Edwards, Vera, Peninsular, and the sub-class members justifiably acted or relied

to their detriment upon Navistar’s misrepresentations (and related omissions of fact concerning

                                                   104
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 108 of 128 PageID #:7173



the Defect), as evidenced by Edwards, Vera, Peninsular, and the sub-class members’ purchase of

the defective Engines.

       592.    Had Navistar disclosed all material information regarding the defective Engines to

Edwards, Vera, Peninsular, and the sub-class members, and had Navistar refrained from making

material misrepresentations regarding the reliability, performance and operating costs of the

Engines, Edwards, Vera, Peninsular, and the sub-class members would not have purchased or

leased vehicles containing the Engines or would have paid less.

       593.    Navistar’s representations and omissions have deceived Edwards, Vera, and

Peninsular, and those same business practices have deceived or are likely to deceive members of

the consuming public and the members of the Florida Sub-Classes.

       594.    In addition to being deceptive, the business practices of Navistar were unfair since

Navistar knowingly sold Edwards, Vera, Peninsular, and the sub-class members Trucks with

defective Engines that have rendered the Engines essentially unusable for the purposes for which

they were sold. The injuries to Edwards, Vera, Peninsular, and the sub-class members are

substantial and greatly outweigh any alleged countervailing benefit to Edwards, Vera,

Peninsular, and the sub-class or to competition under all of the circumstances. Moreover, in light

of Navistar’s exclusive knowledge of the defects, the injury is not one Edwards, Vera,

Peninsular, and the sub-class members could have reasonably avoided.

       595.    As a direct and proximate result of these unfair and deceptive commercial

practices, Edwards, Vera, Peninsular, and members of the Florida Sub-Classes have been

damaged and are entitled to recover actual damages, attorneys’ fees and costs, and all other relief

allowed under F.S.A. § 501.201, et seq.




                                               105
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 109 of 128 PageID #:7174



F.     Additional Claims Brought Under Idaho Law

                           THIRTEENTH CAUSE OF ACTION
              VIOLATIONS OF IDAHO CONSUMER PROTECTION ACT,
                              IDAHO CODE §§ 48-601, et seq.
     Asserted on behalf of Lord AG and the Idaho Statutory and Warranty Sub-Classes

       596.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       597.    Plaintiff Lord AG brings this claim on behalf of itself and members of the Idaho

Statutory and Warranty Sub-Classes.

       598.    Lord AG and sub-class members are natural persons and legal entities and, as

such, constitute “persons” as defined by Idaho Code § 48-602(1).

       599.    By its plain terms, Idaho Code § 48-603(17) declares that it is unlawful to engage

“in any act or practice which is otherwise misleading, false, or deceptive to the consumer.”

       600.    Idaho Code § 48-608(1) provides a private cause of action to “any person who

purchases or leases goods or services and thereby suffers ascertainable loss of money or property

as a result of a method, act or practice declared unlawful.”

       601.    By the conduct described in detail above and incorporated herein, Navistar

engaged in unlawful practices in violation of Idaho Code §§ 48-601 et seq.

       602.    Navistar intentionally concealed or failed to disclose that the Engines were

defectively designed and/or manufactured, posed a significant and dangerous risk to the general

public, would suddenly and dangerously fail before the end of their useful life, and were not

suitable for their intended use. These omissions were contrary to Navistar’s representations

regarding the Engines’ reliability, performance, and operating costs.

       603.    The facts regarding the Defect, which were intentionally concealed or not

disclosed by Navistar to Lord AG and sub-class members, are material facts that a reasonable

person would have considered in deciding whether to purchase or lease (or to pay the same price


                                                106
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 110 of 128 PageID #:7175



for) the Engines. Because such facts were in the exclusive possession of Navistar, Navistar

owed a duty to Lord AG and sub-class members to disclose those facts.

       604.    Navistar intended that Lord AG and sub-class members rely on their

misrepresentations and omissions concerning the defective Engines, so that Lord AG and sub-

class members would lease or purchase vehicles containing the Engines.

       605.    Lord AG and sub-class members viewed Navistar’s material misrepresentations

prior to the purchase or lease of their Trucks, and Lord AG and sub-class members justifiably

acted or relied to their detriment upon those misrepresentations (and related omissions of fact

concerning the Defect), as evidenced by Lord AG and sub-class members’ purchase or lease of

the defective Engines.

       606.    Had Navistar disclosed all material information regarding the defective Engines to

Lord AG and sub-class members, they would not have purchased or leased vehicles containing

the Engines or they would have paid less for them.

       607.    Navistar’s unlawful practices have deceived Lord AG, and those same practices

have deceived or are likely to deceive members of the consuming public and the members of the

Idaho Sub-Classes.

       608.    By engaging in the above-described acts and practices, Navistar has committed

one or more acts of unfair competition within the meaning of Idaho Code §§ 48-601 et seq.

       609.    Navistar knowingly sold Lord AG and sub-class members Engines with defects

that have rendered the Engines essentially unusable for the purposes for which they were sold.

       610.    The injuries to the Lord AG and sub-class members greatly outweigh any alleged

countervailing benefit to Lord AG and sub-class members or to competition under all of the




                                               107
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 111 of 128 PageID #:7176



circumstances. Moreover, in light of Navistar’s exclusive knowledge of the defects, the injury is

not one Lord AG and sub-class members could have reasonably avoided.

        611.    As a direct and proximate cause of Navistar’s unlawful practices, Lord AG and

members of the Idaho Sub-Classes have suffered economic damages as well as actual damages

and are entitled to recover all relief allowed under Idaho Code § 48-608 plus interest, attorneys’

fees and costs of suit.

G.      Additional Claims Brought Under Illinois Law

                             FOURTEENTH CAUSE OF ACTION
     VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE TRADE
                          PRACTICES ACT, 815 ILCS 505/1, et seq.
      Asserted on behalf of Carmichael, Quick, Go To, Grieser, Keplinger, and the Illinois
                              Statutory and Warranty Sub-Classes

        612.    Plaintiffs adopt and incorporate herein the allegations set forth above.

        613.    Plaintiffs Carmichael, Quick, Grieser, Keplinger, and Go To bring this claim for

themselves and members of the Illinois Statutory Sub-Class, and Plaintiffs Carmichael and Go

To bring this claim for themselves and members of the Illinois Warranty Sub-Class.

        614.    The Illinois Consumer Fraud and Deceptive Trade Practices Act (“ICFA”)

prohibits “unfair and deceptive practices.”

        615.    Plaintiffs Carmichael, Quick, Go To, Keplinger, and Grieser bring this claim on

behalf of themselves and members of the Illinois Sub-Class.

        616.    Carmichael, Quick, Go To, Keplinger, Grieser and sub-class members are

consumers as defined in 815 ILCS 505/1(c) & (e).

        617.    Navistar had knowledge of the defective Engines at all relevant times herein.

        618.    Despite this knowledge, Navistar has failed to disclose the existence of this

material information to Carmichael, Quick, Go To, Keplinger, Grieser and sub-class members at

the time each of them purchased or leased the vehicles containing the defective Engines, and/or

                                                108
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 112 of 128 PageID #:7177



at the time they made warranty claims related to the defective Engines. To the contrary, Navistar

made affirmative representations regarding the reliability, performance, and operating costs of

the Engines.

       619.    Carmichael, Quick, Go To, Keplinger, Grieser and sub-class members reasonably

expected that their Trucks would not have defective Engines that caused their Trucks to

repeatedly and inevitably fail, leading to, among other things, their inability to use the Trucks for

their intended purpose, lost revenue, deflated resale value, repair costs, and towing costs incurred

by Carmichael, Quick, Go To, Keplinger, Grieser and sub-class members.

       620.    Navistar intended, and continues to intend, that Carmichael, Quick, Go To,

Keplinger, Grieser and sub-class members rely on Navistar’s material misrepresentations and

omissions of material facts.

       621.    Navistar’s misconduct, including the misrepresentations and the omissions of

material facts, took place in the course of trade or commerce in Illinois, arose out of transactions

that occurred in Illinois, and/or harmed individuals and entities located in Illinois.

       622.    In so doing the above, Navistar has engaged in an unfair or deceptive act

prohibited by the ICFA.

       623.    If not for Navistar’s deceptive and unfair acts of concealing from the Illinois

Plaintiffs and Sub-Class members the material facts as alleged herein, they would not have

purchased or leased the Trucks, or would have paid significantly less for them.

       624.    Navistar, at all relevant times, knew or should have known that the Illinois

Plaintiffs and Sub-Class members did not know and could not have reasonably discovered the

defective Engines prior to their purchases or leases.




                                                 109
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 113 of 128 PageID #:7178



       625.    As a direct and proximate result of Navistar’s violations of the ICFA, the Illinois

Plaintiffs and Sub-Class members suffered damages.

       626.    Navistar’s violation of the ICFA entitles the Illinois Plaintiffs and the Sub-Class

members to statutory and actual damages, punitive damages, injunctive relief, attorney’s fees and

costs, and all other relief allowed under the ICFA.

H.     Additional Claims Brought Under New Jersey Law

                             FIFTEENTH CAUSE OF ACTION
              VIOLATIONS OF NEW JERSEY CONSUMER FRAUD ACT,
                             N.J. STAT. ANN. § 56:8-1 ET SEQ.
     Asserted on behalf of Ferraro Foods, Joandnas, Alka, A-Rapid, and the New Jersey
                            Statutory and Warranty Sub-Classes

       627.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       628.    Plaintiffs Joandnas, Ferraro, Alka, and A-Rapid bring this claim for themselves

and the New Jersey Statutory Sub-Class, and Plaintiff Ferraro brings this claim for itself and the

New Jersey Warranty Sub-Class.

       629.    Joandnas, Ferraro, Alka, A-Rapid, and sub-class members are natural persons and

legal entities and, as such, constitute “persons” as defined by N.J. Stat. Ann. § 56:8-1.

       630.    By its plain terms, N.J. Stat. Ann. § 56:8-2 declares unlawful “any

unconscionable commercial practice, deception, fraud, false pretense, false promise,

misrepresentation, or the knowing, concealment, suppression, or omission of any material fact.”

       631.    N.J. Stat. Ann. provides a private cause of action to “any person who suffers any

ascertainable loss of moneys or property, real or personal, as a result of the use or employment

by another person of any method, act, or practice declared unlawful under this act.”

       632.    By the conduct described in detail above and incorporated herein, Navistar

engaged in unlawful practices in violation of N.J. Stat. Ann. § 56:8-1 et seq.



                                                110
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 114 of 128 PageID #:7179



       633.    Navistar intentionally concealed or failed to disclose that the Engines were

defectively designed and/or manufactured, posed a significant and dangerous risk to the general

public, would suddenly and dangerously fail before the end of their useful life, and were not

suitable for their intended use. These omissions were contrary to Navistar’s representations

regarding the Engines’ reliability, performance, and operating costs.

       634.    The facts regarding the Defect, which were intentionally concealed or not

disclosed by Navistar to Joandnas, Ferraro, Alka, A-Rapid, and sub-class members, are material

facts that a reasonable person would have considered in deciding whether or not to purchase or

lease (or to pay the same price for) the Engines. Because such facts were in the exclusive

possession of Navistar, Navistar owed a duty to Joandnas, Ferraro, Alka, A-Rapid, and sub-class

members to disclose those facts.

       635.    Navistar intended that Joandnas, Ferraro, Alka, A-Rapid, and sub-class members

rely on Navistar’s misrepresentations and omissions concerning the defective Engines, so

Joandnas, Ferraro, Alka, A-Rapid, and sub-class members would lease or purchase vehicles

containing the Engines.

       636.    Joandnas, Ferraro, Alka, A-Rapid, and sub-class members viewed Navistar’s

material misrepresentations prior to the purchase or lease of their Trucks, and they justifiably

acted or relied to their detriment upon those misrepresentations (and related omissions of fact

concerning the Defect), as evidenced by their purchase or lease of the defective Engines.

       637.    Had Navistar disclosed all material information regarding the defective Engines to

Joandnas, Ferraro, Alka, A-Rapid, and sub-class members, they would not have purchased or

leased vehicles containing the Engines or they would have paid less for them.




                                                111
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 115 of 128 PageID #:7180



          638.   Navistar’s unlawful practices have deceived Joandnas, Ferraro, Alka, and A-

Rapid, and those same practices have deceived or are likely to deceive members of the

consuming public and the members of the New Jersey Sub-Classes.

          639.   By engaging in the above-described acts and practices, Navistar has committed

one or more acts of consumer fraud within the meaning of N.J. Stat. Ann. § 56:8-1 et seq.

          640.   Navistar knowingly sold or leased Engines with defects that have rendered the

Engines essentially unusable for the purposes for which they were sold.

          641.   The injuries to Joandnas, Ferraro, Alka, A-Rapid, and sub-class members greatly

outweigh any alleged countervailing benefit to Joandnas, Ferraro, Alka, A-Rapid, and sub-class

members or to competition under all of the circumstances. Moreover, in light of Navistar’s

exclusive knowledge of the defects, the injury is not one Joandnas, Ferraro, Alka, A-Rapid, and

sub-class members could have reasonably avoided.

          642.   As a direct and proximate cause of Navistar’s unfair or deceptive acts or practices,

Joandnas, Ferraro, Alka, A-Rapid, and members of the New Jersey Sub-Classes have suffered

actual damages and are entitled to recover such damages together with all other relief allowed

under N.J. Stat. Ann. § 56:8-19, plus interest, attorneys’ fees and costs of suit.

          643.   Pursuant to N.J. Stat. Ann. § 56:8-20, Plaintiffs have already served the New

Jersey Attorney General with a copy of Plaintiffs’ First Amended Consolidated Class Action

Complaint, and will also serve a copy of this complaint, once operative.

I.        Additional Claims Brought Under North Carolina Law

                               SIXTEENTH CAUSE OF ACTION
      VIOLATIONS OF THE NORTH CAROLINA DECEPTIVE AND UNFAIR TRADE
                      PRACTICES ACT, N.C. GEN. STAT. § 75-1, et seq.
     Asserted on behalf of Fike Logistics, Jenkins Unlimited, Phifer Trucking, and the North
                         Carolina Statutory and Warranty Sub-Classes

          644.   Plaintiffs adopt and incorporate herein the allegations set forth above.

                                                 112
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 116 of 128 PageID #:7181



         645.   Plaintiffs Jenkins Unlimited and Phifer Trucking bring this claim for themselves

and members of the North Carolina Statutory Sub-Class, and Plaintiffs Fike Logistics, Phifer,

and Jenkins bring this claim for themselves and members of the North Carolina Warranty Sub-

Class.

         646.   The North Carolina Deceptive and Unfair Trade Practices Act, N.C. Gen. Stat.

§ 75-1.1, makes unlawful “[u]nfair methods of competition in or affecting commerce, and unfair

or deceptive acts or practices in or affecting commerce.”

         647.   Navistar engaged in unlawful, deceptive acts in violation of N.C. Gen. Stat. § 75-

1.1 in selling and warranting the MaxxForce Engines. Navistar misrepresented the

characteristics of the Engines and Trucks and failed to give Fike, Phifer, Jenkins, and sub-class

members sufficient notice or warning regarding the defects in the Engine, even though Navistar

knew or reasonably should have known about the Defect. Navistar intended that Fike, Phifer,

Jenkins, and sub-class members rely upon the Navistar’s omissions and misrepresentations when

purchasing vehicles containing the Engines. Fike, Phifer, Jenkins, and sub-class members were

deceived by Navistar’s concealment of the Defect.

         648.   Navistar also engaged in unlawful and deceptive practices in violation of N.C.

Gen. Stat. § 75-1, et seq., when it failed to provide the full cost to repair or replace the

MaxxForce Engines after being notified of defects and problems by Fike, Phifer, Jenkins, and

sub-class members.

         649.   Navistar’s conduct was in commerce and affected commerce.

         650.   As a direct and proximate result of these unfair, willful, unconscionable, and

deceptive commercial practices, Fike, Phifer, Jenkins, and members of the North Carolina Sub-




                                                  113
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 117 of 128 PageID #:7182



Classes have been damaged and are entitled to recover actual and treble damages as well as

attorneys’ fees and costs and all other relief allowed under N.C. Gen. Stat. §§ 75-16 and 75-16.1.

J.      Additional Claims Brought Under Ohio Law

                         SEVENTEENTH CAUSE OF ACTION
               VIOLATIONS OF OHIO DECEPTIVE TRADE PRACTICES ACT
                       OHIO REV. CODE ANN. § 4165.01, ET SEQ.
                    Asserted on behalf of Binder Trucking, individually

        651.     Plaintiffs adopt and incorporate herein the allegations set forth above.

        652.     Plaintiff Binder Trucking brings this claim for itself.

        653.     The Ohio Deceptive Trade Practices Act (“DTPA”) is codified at Ohio Rev. Code

Ann. § 4165.01, et seq. The statute permits a “person” who is injured or who is likely to be

injured as a result of a deceptive practice to bring an action under the DTPA. Ohio Rev. Code

Ann. § 4165.03(A)(1)-(2).

        654.     The DTPA defines a “person” broadly to include, inter alia, a corporation,

business trust, partnership, unincorporated association, and limited liability company. Ohio Rev.

Code Ann. § 4165.01(D). As such, the Binder Trucking is a “person” within the meaning of the

DTPA.

        655.     Navistar violated the DTPA by doing the following in the course of its business:

                 a.     Causing a likelihood of confusion or misunderstanding as to the source,

                        sponsorship, approval, or certification of goods;

                 b.     Causing a likelihood of confusion or misunderstanding as to affiliation,

                        connection, or association with, or certification by, another;

                 c.     Representing that goods or services have sponsorship, approval,

                        characteristics, ingredients, uses, benefits, or quantities that they do not




                                                  114
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 118 of 128 PageID #:7183



                      have or that a person has a sponsorship, approval, status, affiliation, or

                      connection that the person does not have; and

               d.     Representing that goods or services are of a particular standard, quality, or

                      grade, or that goods are of a particular style or model, if they are of

                      another.

       656.    As a direct and proximate result of Navistar’s violations of the DTPA, Binder

Trucking has been injured and suffered actual damages and is entitled to recover such damages

together with all other relief allowed under the DTPA.

                       EIGHTEENTH CAUSE OF ACTION
       BREACH OF IMPLIED WARRANTY IN TORT (BASED ON OHIO LAW)
           Asserted on behalf of Binder Trucking and the Ohio Sub-Class

       657.    Plaintiff Binder adopts and incorporates herein the allegations set forth above.

       658.    Binder brings this claim on behalf of itself and the Ohio Warranty Sub-Class.

       659.    The Engines contained a dangerous design defect as detailed above that caused

the vehicles to lose power.

       660.    The design, manufacturing, and/or assembly defect existed at the time these

Engines left the hands of Navistar.

       661.    Based upon the dangerous Defect and its certainty to occur, Navistar failed to

meet the expectations of a reasonable consumer. The Engines failed their ordinary, intended use.

The EGR system Defect presents a serious danger to Binder and the other sub-class members

that cannot be eliminated without significant and expensive repairs.

       662.    The design defect in the Engines was the direct and proximate cause of economic

damages to Binder, as well as damages incurred or to be incurred by each of the other sub-class




                                               115
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 119 of 128 PageID #:7184



members. Binder and members of the Ohio Sub-Classes are entitled to recover such damages

along with all other relief allowed under applicable Ohio common law.

K.      Additional Claims Brought Under Texas Law

                       NINETEENTH CAUSE OF ACTION
     VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES – CONSUMER
           PROTECTION ACT, TEXAS BUS. & COM. CODE § 17.00, et seq.
                  Asserted on behalf of Caballero, Slough, and Fike

        663.   Plaintiffs adopt and incorporate herein the allegations set forth above.

        664.   Plaintiffs Caballero, Slough, and Fike bring this claim on behalf of themselves.

        665.   Caballero, Slough, and Fike are “consumers” protected under the Texas Deceptive

Trade Practices-Consumer Protection Act (“Texas DTPA”) since they are individuals,

partnerships, corporations, that have assets less than $25 million and since they are not owned or

controlled by a corporation or entity with assets of $25 million or more. Tex. Bus. & Com. Code

§ 17.45(4). The Navistar Defendants are both “persons” governed by the Texas DTPA. Tex.

Bus. & Com. Code § 17.45(3).

        666.   As detailed in the foregoing allegations, Navistar knowingly and intentionally

made representations regarding the reliability, performance, and operating costs of the Engines,

despite knowing that such representations were false, given the nature of the Defect. Navistar

knowingly and intentionally omitted material information concerning the Engines by failing to

inform Caballero, Slough, and Fike of the Defect. Navistar then sold and/or leased Trucks with

the defective Engines.

        667.   Navistar’s sale and/or lease of Trucks containing the Defect to those who had no

knowledge of the Defect constitutes an unconscionable action in violation of the Texas DTPA.

Tex. Bus & C. Code §17.50(a)(3). Navistar’s actions took advantage of the lack of knowledge




                                               116
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 120 of 128 PageID #:7185



possessed by Caballero, Slough, and Fike and the resulting unfairness is glaringly noticeable,

flagrant, complete and unmitigated.

       668.    Navistar’s above-described knowing and intentional unconscionable actions

and/or unconscionable course of action, inaction and/or omissions directly and/or proximately

caused Caballero, Slough and Fike to suffer economic damages and other actual injury and harm,

and collectively constitute violations of the Texas DTPA. Tex. Bus. & C. Code § 17.50(a)(3).

Had Navistar not engaged in such knowing and intentional unconscionable actions and/or

unconscionable course of action, inaction and/or omissions, Caballero, Slough, and Fike would

not have overpaid to purchase and/or lease Trucks with the defective EGR System in the

Engines, or would not have purchased or leased the Trucks.

       669.    Caballero, Slough, and Fike, therefore, are entitled to recover their economic

damages and other actual injury and harm, under Section 17.50 of the Texas Business and

Commerce Code.

       670.    The Texas Deceptive Trade Practices-Consumer Protection Act, V.T.C.A., Bus. &

C. § 17.00, et seq., makes unlawful “[f]alse, misleading, or deceptive acts or practices in the

conduct of any trade or commerce.”

       671.    Navistar engaged in unlawful, deceptive acts in violation of V.T.C.A., Bus. & C.

§ 17.00, et seq., in selling and warranting the MaxxForce Engines. Navistar failed to give

Caballero, Slough, and Fike any kind of sufficient notice or warning regarding the Defect in the

MaxxForce Engine, of which Navistar knew or reasonably should have known, intending that

Caballero, Slough, and Fike rely upon Navistar’s omission when purchasing vehicles containing

the MaxxForce Engines. Caballero, Slough, and Fike were deceived by Navistar’s concealment

that its MaxxForce Engines contained the Defect.



                                                117
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 121 of 128 PageID #:7186



       672.    As a direct and proximate result of these unfair, unconscionable, and deceptive

commercial practices, Caballero, Slough, and Fike have been damaged and are entitled, pursuant

to the Texas DTPA, to recover damages as well as attorneys’ fees and costs and all other relief

allowed under the Texas DTPA.

L.     Additional Claims Brought Under Washington Law

                          TWENTIETH CAUSE OF ACTION
       VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT
                                 RCW 19.86.020, et seq.
       Asserted on behalf of Grieser, Keplinger, and the Washington Statutory and
                                  Warranty Sub-Classes

       673.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       674.    Plaintiff Keplinger brings this claim for himself and on behalf of the Washington

Statutory Sub-Class, and Plaintiffs Grieser and Keplinger bring this claim on behalf of

themselves and members of the Washington Warranty Sub-Class.

       675.    Grieser, Keplinger, and sub-class members are natural persons and legal entities

and, as such, constitute “persons” as defined by the Washington Consumer Protection Act (the

“Washington CPA”) and fall within the meaning of the term “any person” as contained in the

Washington CPA. RCW 19.86.010; 19.86.090.

       676.    By its plain terms, the Washington CPA provides a private right of action for any

person who is injured in his or her business or property by an unfair and/or deceptive act or

practice.

       677.    By the conduct described in detail above and incorporated herein, Navistar

engaged in unfair and deceptive acts and practices in violation of the Washington CPA.

       678.    Navistar’s unfair and deceptive acts and practices occurred in the conduct of

“trade” or “commerce” as those terms are defined in the Washington CPA.



                                               118
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 122 of 128 PageID #:7187



       679.    Navistar’s unfair and deceptive acts and practices have an impact on the public

interest since they involve the sale of goods that were defective, posed safety hazards, and were

sold to members of the public who had no knowledge of the Defect.

       680.    Navistar’s omissions regarding the Defect, and the related representations

regarding the Engines’ reliability, performance and operating costs, are material facts that a

reasonable person would have considered in deciding whether to purchase or lease (or to pay the

same price for) the Engines.

       681.    Grieser, Keplinger, and sub-class members justifiably acted or relied to their

detriment upon Navistar’s misrepresentations (and related omissions of fact concerning the

Defect), as evidenced by Grieser, Keplinger, and sub-class members’ purchase or lease of the

defective Engines.

       682.    Had Navistar disclosed all material information regarding the defective Engines to

Grieser, Keplinger, and sub-class members, and had Navistar refrained from making material

misrepresentations regarding the reliability, performance and operating costs of the Engines,

Grieser, Keplinger and sub-class members would not have purchased or leased vehicles

containing the Engines or would have paid less.

       683.    Navistar’s representations and omissions have deceived Grieser and Keplinger,

and those same business practices have deceived or are likely to deceive members of the

consuming public and the members of the Washington Sub-Classes.

       684.    In addition to being deceptive, the business practices of Navistar were unfair since

Navistar knowingly sold Grieser, Keplinger, and sub-class members Engines with defects that

have rendered the Engines essentially unusable for the purposes for which they were sold. The

injuries to Grieser, Keplinger, and sub-class members are substantial and greatly outweigh any



                                                119
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 123 of 128 PageID #:7188



alleged countervailing benefit to Grieser, Keplinger, and sub-class members or to competition

under all of the circumstances. Moreover, in light of Navistar’s exclusive knowledge of the

Defects, the injury is not one Grieser, Keplinger, and sub-class members could have reasonably

avoided.

       685.    As a direct and proximate result of these unfair and deceptive commercial

practices, Grieser, Keplinger, and members of the Washington Sub-Classes have been damaged

and are entitled to recover actual damages, as well as attorneys’ fees and costs, and all other

relief available under the Washington CPA.

M.     Additional Claims Brought Under Wisconsin Law

                          TWENTY-FIRST CAUSE OF ACTION
        VIOLATIONS OF WISCONSIN DECEPTIVE TRADE PRACTICES ACT
                              WIS. STAT. § 100.18, et seq.
     Asserted on behalf of G&G, Michael Jackson, Sr., and the Wisconsin Statutory and
                                 Warranty Sub-Classes

       686.    Plaintiffs adopt and incorporate herein the allegations set forth above.

       687.    Plaintiffs Jackson and G&G bring this claim for themselves and on behalf of the

Wisconsin Statutory Sub-Class, and Plaintiff G&G brings this claim for itself and on behalf of

the Wisconsin Warranty Sub-Class.

       688.    The Wisconsin Deceptive Trade Practices Act (“DTPA”) prohibits making untrue,

deceptive, or misleading representations to the public with intent to sell, distribute, and increase

the consumption of products.

       689.    G&G, Jackson, and sub-class members are members of the public within the

meaning of Wisconsin DTPA.

       690.    G&G, Jackson, and sub-class members reasonably expected that their Navistar

vehicles would not have defective Engines that caused their vehicles to repeatedly and inevitably

fail, leading to, among other things, their inability to use the vehicles for their intended purpose,

                                                 120
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 124 of 128 PageID #:7189



lost revenue, deflated resale value, repair costs, and towing costs incurred by the Wisconsin

Plaintiffs and Sub-Class members.

        691.   Navistar’s misconduct, including the omissions of material facts, took place in the

course of trade or commerce in Wisconsin, and arose out of transactions that occurred in

Wisconsin.

        692.   Navistar had knowledge of the defective Engines at all relevant times herein.

        693.   Despite this knowledge, Navistar made affirmative representations, as detailed in

the foregoing allegations, regarding the Engines’ reliability, performance, and operating costs,

with the intent to induce G&G, Jackson, and sub-class members’ purchase or lease.

        694.   In so doing the above, Navistar has made untrue, deceptive, and misleading

representations to the public prohibited by the DTPA.

        695.   If not for Navistar’s untrue, deceptive, and misleading representations and

omissions of the material facts as alleged herein, G&G, Jackson, and sub-class members would

not have purchased or leased the Navistar vehicles, or would have paid significantly less for

them.

        696.   Navistar, at all relevant times, knew or should have known that G&G, Jackson,

and sub-class members did not know and could not have reasonably discovered the defective

Engines prior to their purchases or leases.

        697.   As a direct and proximate result of Navistar’s violations of the DTPA, G&G,

Jackson, and sub-class members suffered damages.

        698.   Navistar’s violation of the DTPA entitles G&G, Jackson, and members of the

Wisconsin Sub-Classes to statutory and actual damages, punitive damages, injunctive relief, and

attorneys’ fees and costs.



                                               121
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 125 of 128 PageID #:7190



                                      PRAYER FOR RELIEF

          WHEREFORE, on behalf of themselves and all others similarly situated, Plaintiffs

demand judgment against Navistar on each Count of the Complaint and pray for the following

relief:

          1.     Issue an Order certifying the Classes and/or any Subclasses the Court deems

appropriate, appointing Plaintiffs and their counsel to represent the Classes, and directing that

reasonable notice of this action be given by Navistar to all Class members;

          2.     Grant any reasonable request to amend this Class Action Complaint to conform to

the discovery and evidence obtained in this Class Action;

          3.     Empanel a jury to try this matter;

          4.     Grant Plaintiffs and members of the Declaratory Relief Class the declaratory

judgment and/or injunctive relief requested herein;

          5.     Award to Plaintiffs and the Class members all compensatory damages provided

for and consistent with their claims for relief;

          6.     Award to Plaintiffs and the Class members all appropriate damages and equitable

relief that the Court deems appropriate;

          7.     Award to Plaintiffs and the Class members all exemplary and/or punitive damages

allowed by law that the Court deems appropriate;

          8.     Grant Plaintiffs and Class members their reasonable attorneys’ fees and costs

incurred in this litigation as allowed by law;

          9.     Award costs and expenses incurred in this action pursuant to Rule 54 of the

Federal Rules of Civil Procedure;

          10.    Award pre-and post-judgment interest as allowed by law; and


                                                   122
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 126 of 128 PageID #:7191



       11.    Grant Plaintiffs and Class members such further relief as the Court may deem just

and proper.

                                  JURY TRIAL DEMANDED

       Plaintiffs demand a trial by jury on all claims so triable.


Dated: January 9, 2018

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                                                123
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 127 of 128 PageID #:7192



                                 SIGNATURE ATTESTATION

       Pursuant to the United States District Court for the Northern District of Illinois’ General

Order on Electronic Case Filing, General Order 14-0009(IX)(C)(2), I hereby certify that

authorization for the filing of this document has been obtained from the signatories shown above

and that each signatory concurs in the filing’s content.

                                                      /s Amy E. Keller
                                                      Amy E. Keller
Case: 1:14-cv-10318 Document #: 375 Filed: 01/09/18 Page 128 of 128 PageID #:7193



                                CERTIFICATE OF SERVICE

       I, Amy E. Keller, certify that on January 9, 2018, I caused a copy of the foregoing to be

served on all parties of record via the Court’s CM/ECF system.

                                                    /s Amy E. Keller
                                                    Amy E. Keller
